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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

  ______________________________________
                                         )
  MARTIN TANKLEFF,                       )
                                         )
        Plaintiff,                       )
                                         )
                                                                PLAINTIFF’S
                     v.                  )
                                                           COUNTERSTATEMENT OF
                                         )
                                                          MATERIAL FACTS PURSUANT
  THE COUNTY OF SUFFOLK,                 )
                                                             TO LOCAL RULE 56.1
  K. JAMES MCCREADY, NORMAN REIN , )
  CHARLES KOSCIUK, ROBERT DOYLE,         )
                                                              No. 09-CV-1207 (JS)(AYS)
  JOHN MCELHONE, JOHN DOE POLICE )
  OFFICERS #1-10, RICHARD ROE, Suffolk )
  County Employees #1-10,                )
                                         )
        Defendants.                      )
  ______________________________________ )


                        TURMOIL IN THE SCPD HOMICIDE SQUAD

  In the 1980s, allegations of police brutality against the SCPD Homicide Squad steadily
  increase in number and frequency, prompting inquiries.

  1.     Beginning in the late 1970s, allegations began to surface that detectives in the Suffolk
         County Police Department (“SCPD”) Homicide Squad had been using physical force to
         extract confessions from suspects. [Pl.’s Ex. 1 (Trainum Report) at 15; Pl.’s Ex. 2
         (McElhone 2011 Deposition) at 88:19–90:3.] This was the start of a period of “turmoil”
         in the SCPD. [Pl.’s Ex. 1 (Trainum Report) at 15; Pl.’s Ex. 2 (McElhone 2011
         Deposition) at 22:5–22.]

  2.     As a result, on June 11, 1979, the National Law Journal published an article entitled
         “When Suspects are Abused: Allegations of Beatings, Forced Confessions in a N.Y.
         Suburb are Widespread; Cases Highlight Perils to Effective Law Enforcement.” [Pl.’s Ex.
         3 (NLJ Article) at 1, 4–17.] The article described the SCPD’s use of physical force and
         other improper techniques to pressure suspects to confess, as well as a startling failure to
         follow up on obvious leads inconsistent with a confession or to seek evidence that might
         corroborate or refute a confession. [Pl.’s Ex. 3 (NLJ Article) at 1–17.] The article
         concluded that members of the SCPD had engaged in an “apparent pattern of brutality.”
         [Pl.’s Ex. 3 (NLJ Article) at 1; Pl.’s Ex. 4 (SCBA Report) at 2; Pl.’s Ex. 5 (1989 SIC
         Report) at 11.]




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  3.     Shortly thereafter, in July 1979, the Civil Rights Committee of the Suffolk County Bar
         Association (“SCBA”) began an investigation into the brutality allegations against the
         SCPD, and also into the SCPD’s reliance on confessions to close cases. [Pl.’s Ex. 1
         (Trainum Report) at 15; Pl.’s Ex. 4 (SCBA Report) at 3; Pl.’s Ex. 5 (1989 SIC Report) at
         11; see generally Pl.’s Ex. 4 (SCBA Report) at 1–54.] Public hearings were held in
         September 1979. [Pl.’s Ex. 4 (SCBA Report) at 5.] On January 28, 1980, the SCBA
         issued a report of its investigation. [Pl.’s Ex. 1 (Trainum Report) at 15; Pl.’s Ex. 4 (SCBA
         Report) at 1–54.] The report concluded that there was a “serious problem in Suffolk
         County with respect to police brutality . . . . often involving members of minority groups
         and young persons.” [Pl.’s Ex. 4 (SCBA Report) at 6.] This conclusion was based on the
         reports of the Suffolk County Human Rights Commission, the County agency responsible
         for referring brutality complaints for investigation, and was further supported by the
         experience of members of the private bar and the decisions of state and federal courts.
         [Pl.’s Ex. 4 (SCBA Report) at 6–29.] The report contained a number of recommendations
         for reform, including that the SCPD “should videotape the questioning of any arrestee in
         police custody where the crime involved is a felony.” [Pl.’s Ex. 4 (SCBA Report) at 39;
         see also Pl.’s Ex. 1 (Trainum Report) at 15; Pl.’s Ex. 5 (1989 SIC Report) at 11–13.]

  SCPD misconduct at high-profile murder trials arouses the ire of a Suffolk County judge, who
  calls for a full-fledged investigation.

  4.     In September 1985, several SCPD Homicide Squad detectives testified at trial against a
         man named James Diaz who they claimed had confessed to a brutal rape and murder, but
         had refused to sign the confession. [Pl.’s Ex. 5 (1989 SIC Report) at 31–42.] For
         example, Detective K. James McCready testified at the trial that a witness had identified
         Diaz from a photograph in the newspaper, but, after being impeached by evidence that no
         paper had published a photograph of Diaz at the time of the supposed identification, then
         claimed that he had just assumed the witness had seen a photograph of Diaz. [Pl.’s Ex. 5
         (1989 SIC Report) at 38–39.] Caught in this lie, Detective McCready went on to falsely
         claim that he had shown a photo array to the witness, even though no photo array was
         ever documented or reported, and the prosecutor had already told the judge that no photo
         array procedure took place. [Pl.’s Ex. 5 (1989 SIC Report) at 39–40.] Detective
         McCready’s conduct was later found to have constituted perjury. [Pl.’s Ex. 5 (1989 SIC
         Report) at 41–42.]

  5.     After another misconduct-riddled murder trial, that of Peter Corso in May 1985, jurors
         were quoted as saying that Corso was acquitted partly due to the “careless and
         unprofessional investigative methods” employed by the SCPD Homicide Squad. [Pl.’s
         Ex. 5 (1989 SIC Report) at 43.]

  6.     As a result, on October 19, 1985, after presiding over the Diaz and Corso trials, Suffolk
         County Court Judge Stuart Namm wrote a letter to Governor Mario Cuomo detailing
         concerns he had about the SCPD’s Homicide Squad detectives and Suffolk County
         prosecutors, and requesting a full-fledged investigation. [Pl.’s Ex. 1 (Trainum Report) at
         15; Pl.’s Ex. 5 (1989 SIC Report) at 16–17; Pl.’s Ex. 6 (Judge Namm Letter) at 1–4.]



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  The SIC responds to complaints and conducts an investigation into the SCPD Homicide
  Squad’s practices.

  7.    On January 9, 1986, following Judge Namm’s letter, an increase in complaints in general
        about the SCPD, and numerous public reports regarding SCPD abuses, the State of New
        York Commission of Investigation (“SIC”) opened an investigation into the SCPD,
        specifically the Homicide Squad. [Pl.’s Ex. 1 (Trainum Report) at 15; Pl.’s Ex. 5 (1989
        SIC Report) at 5–21.]

  8.    The SIC’s resulting report, issued in April 1989, ultimately found that very few of the
        SCBA’s 1980 recommendations had been implemented by the SCPD. [Pl.’s Ex. 1
        (Trainum Report) at 15; Pl.’s Ex. 5 (1989 SIC Report) at 12–13.] Instead, the SIC report
        noted “grave shortcomings in the leadership and management” of the SCPD, especially
        with respect to the conduct of its Homicide Squad detectives, including lack of
        accountability for official misconduct. [Pl.’s Ex. 5 (1989 SIC Report) at 23, 26.] The
        report further found that the SCPD engaged in and permitted grossly deficient
        investigative and management practices, and failed to punish instances of employee
        misconduct, even when supervisory personnel knew of those instances. [Pl.’s Ex. 6 (1989
        SIC Report) at 28.]

  Newsday publishes series entitled “The Confession Takers,” exposing SCPD Homicide Squad
  practices with regard to confessions.

  9.    While the SIC investigation was ongoing, from December 7–11, 1986, Newsday
        published a multi-part series on the SCPD Homicide Squad titled “The Confession
        Takers.” [Pl.’s Ex. 1 (Trainum Report) at 16; Pl.’s Ex. 7 (Newsday Series) at 1–67.] The
        Newsday series focused on research that suggested the Homicide Squad was over-reliant
        on confessions. [Pl.’s Ex. 1 (Trainum Report) at 16; Pl.’s Ex. 7 (Newsday Series) at 1–67;
        Pl.’s Ex. 5 (1989 SIC Report) at 55.] The reporters responsible for the series analyzed
        361 Suffolk County murder cases between 1976 and 1986, showing that Homicide Squad
        detectives got confessions in 94% of those cases. [Pl.’s Ex. 7 (Newsday Series) at 4.]
        This statistic was particular alarming based on comparisons made by the Newsday
        reporters to the confession rates in six comparable counties, which had confession rates
        between 54–73.5%. [Pl.’s Ex. 7 (Newsday Series) at 4.]

  The SCPD attempts damage control, appointing Lieutenant McElhone as the new head of the
  Homicide Squad.

  10.   In February 1987, in the immediate wake of “The Confession Takers,” and while the SIC
        investigation was still ongoing, Lieutenant John McElhone was assigned as the new head
        of the SCPD Homicide Squad. [Pl.’s Ex. 1 (Trainum Report) at 16; Pl.’s Ex. 2 (McElhone
        2011 Deposition) at 19:25–34:18.] Lieutenant McElhone testified that he was brought in
        as a result of the turmoil and that he understood that it was necessary, and part of his
        mandate in being assigned to the unit, to change how the Homicide Squad operated. [Pl.’s
        Ex. 1 (Trainum Report) at 16; Pl.’s Ex. 2 (McElhone 2011 Deposition) at 109:4–110:15.]



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  11.   A substantial part of the needed changes were focused on how detectives were to take
        confessions and how they were to report their conduct. [Pl.’s Ex. 1 (Trainum Report) at
        16; Pl.’s Ex. 2 (McElhone 2011 Deposition) at 110:16–111:6.] This included an emphasis
        on note-taking and retention. [Pl.’s Ex. 2 (McElhone 2011 Deposition) at 50:22–51:24,
        76:8–16.] Lieutenant McElhone also testified that the detectives “were concerned about
        what their future was in the homicide squad.” [Pl.’s Ex. 1 (Trainum Report) at 16; Pl.’s
        Ex. 2 (McElhone 2011 Deposition) at 132:5–15.]

  12.   Lieutenant McElhone testified that, prior to his assuming command and during his early
        tenure in the Homicide Squad, a large number of sergeants and detectives retired or were
        moved commands. Only four detectives with more than a year’s experience in the
        Homicide Squad remained when Lieutenant McElhone took over command. One of those
        detectives was Detective McCready. [Pl.’s Ex. 1 (Trainum Report) at 16; Pl.’s Ex. 2
        (McElhone 2011 Deposition) at 38:12–24, 114:21–116:20.] Upon taking command,
        Lieutenant McElhone had a “personal sit-down” with Detective McCready. [Pl.’s Ex. 1
        (Trainum Report) at 16; Pl.’s Ex. 2 (McElhone 2011 Deposition) at 132:5–15.] Part of the
        message delivered at this sit-down was that Detective McCready needed to properly keep
        notes and generate reports. [Pl.’s Ex. 2 (McElhone 2011 Deposition) at 132:16–133:16.]

  13.   Lieutenant McElhone testified that it was safe to say that the Homicide Squad had
        received a great deal of negative criticism prior to his assuming command, particularly
        with regard to the way the Homicide Squad was getting confessions. [Pl.’s Ex. 8
        (McElhone 2014 Deposition) at 25:18–29:12.] Lieutenant McElhone also admitted that
        problems with regard to note-taking had contributed to the turmoil. [Pl.’s Ex. 2
        (McElhone 2011 Deposition) at 110:16–111:6.]

        INNOCENT MARTY TANKLEFF DISCOVERS HIS PARENTS HAVE BEEN
                         BRUTALLY ATTACKED

  14.   In the early morning hours of September 7, 1988, at least two gloved intruders brutally
        attacked Seymour and Arlene Tankleff, bludgeoning them with a hammer and cutting
        them with a utility knife. The intruders took the murder weapons with them, leaving the
        lights on and the front door open. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4115:9–15; Pl.’s
        Ex. 10 (Palmbach Report) at 12–13; Defs.’ Ex. NNN (Baden Report) at 2–5; Defs.’ Ex.
        BBB (Adams Deposition) at 188:14–22.]

  15.   The Tankleffs’ son, seventeen-year-old Marty, woke up at around 5:35 a.m. and got out
        of bed at around 6:00 a.m., on what was supposed to be his first day of senior year in high
        school. He discovered his father, Seymour, in his office—his throat had been cut and he
        was hanging on for life. Marty immediately called 911 and followed the operator’s
        instructions. Marty then ran through the house looking for his mother, Arlene, until he
        discovered her lifeless body on the floor of his parents’ bedroom. Shortly thereafter, first
        responders arrived at the Tankleffs’ home and took Seymour to the hospital. [Defs.’ Ex.
        B (TT) (Marty Tankleff) at 4112:12–4120:19; Defs.’ Ex. B (TT) (Patricia Flanagan) at
        69:10–23, 70:21–71:13; Defs.’ Ex. A2 (911 Call Transcript); Defs.’ Ex. ZZ (Tankleff
        Deposition) at 8:16–19, 37:17–22; Pl.’s Ex. 11 (Crayne Report) at 1.]

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  16.     At 7:39 a.m., at the direction of SCPD Homicide Squad Detective Sergeant Robert
          Doyle, Detective McCready responded to the Tankleffs’ home. [Pl.’s Ex. 1 (Trainum
          Report) at 18; Defs.’ Ex. C (McCready Supp. Report) at 1.] Detective McCready, the first
          SCPD Homicide Squad detective to arrive on the scene, would become the lead detective
          in the Tankleff murder investigation, assisted by his partner, Detective Norman Rein.
          [Pl.’s Ex. 1 (Trainum Report) at 18, 23; Defs.’ Ex. YY (Doyle Deposition) at 25:14–
          26:20; Pl.’s Ex. 9 (McCready Deposition) at 69:6–18; Defs.’ Ex. XX (Rein Deposition) at
          9:6–10:22.] Sergeant Doyle supervised six SCPD Homicide Squad detectives who
          worked on the case: Detective McCready and Detective Rein, as well as Detective John
          Pfalzgraf, Detective Michael Carmody, Detective Robert Anderson and Detective
          Anthony Laghezza. [Defs.’ Ex. B (TT) (Robert Doyle) at 2604:8–10.]

  17.     Detective McCready was suspicious that Marty had murdered his parents from the
          moment he spoke to Marty. [Pl.’s Ex. 9 (McCready Deposition) at 77:20–24, 93:24–
          94:4.] Detective McCready, Detective Rein, and Sergeant Doyle each questioned Marty
          repeatedly at the scene, then conferred with each other. [Defs.’ Ex. B (TT) (Marty
          Tankleff) at 4132:19–4135:25, 4136:14–4138:11; Defs.’ Ex. C (McCready Supp. Report)
          at 6.] Within approximately an hour of arriving at the scene, Detective McCready
          brought Marty to the SCPD Homicide Squad Headquarters so that he could be questioned
          further. [Pl.’s Ex. 1 (Trainum Report) at 22; Defs.’ Ex. C (McCready Supp. Report) at 6.]

        DETECTIVE MCCREADY AND DETECTIVE REIN COERCE MARTY’S FALSE
                              “CONFESSION”

  Marty is shocked and traumatized after discovering his parents’ bodies.

  18.     After waking up to discover his father hanging on for life and his mother’s unmoving
          body, Marty, standing outside at the house, felt out of it, like he was having a nightmare.
          [Defs.’ Ex. B (TT) (Marty Tankleff) at 4115:16–25, 4120:11–21, 4131:23–25.] At the
          time the police were interviewing him on the morning of September 7, Marty was in a
          state of shock and disbelief, and lacked awareness of his surroundings. [Defs.’ Ex. ZZ
          (Tankleff Deposition) at 293:12–15.]

  19.     As Detective McCready and Detective Rein knew, Marty was a 17-year-old boy who was
          supposed to be starting his first day of senior year in high school and who had never been
          arrested before. [Pl.’s Ex. 9 (McCready Deposition) at 231:3–20, 228:7–19; Defs.’ Ex.
          XX (Rein Deposition) at 77:19.] As the detectives also knew, Marty was barefoot and
          wearing only shorts and a zip-up sweatshirt when he was interviewed, and was
          experiencing a moment of family trauma after discovering his parents’ brutalized bodies.
          [Pl.’s Ex. 9 (McCready Deposition) at 172:21–23, 172:8–11; Defs.’ Ex. XX (Rein
          Deposition) at 77:6–9; Defs.’ Ex. B (TT) (Norman Rein) at 2842:18–19, 2962:25–
          2963:2, 2998:5–19, 3073:4–9, 3182:12–24; Defs.’ Ex. B (TT) (James McCready)
          3440:14–17, 3643:9–12.]




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  Marty is denied access to his family and confined for five-and-a-half hours in a small,
  windowless interrogation room.

  20.    Before the police arrived, Marty called his sister Shari to tell her, “Get over here. I think
         mom and dad have been murdered.” [Defs.’ Ex. B (TT) (Marty Tankleff) at 4121:2–10.]
         After the police arrived, Ron Rother, Shari’s husband and Marty’s brother-in-law,
         appeared at the house, but Marty spent less than five minutes with Ron before a police
         officer separated the two of them, leaving Marty completely isolated from his family.
         [Defs.’ Ex. B (TT) (Marty Tankleff) at 4127:21–4128:24.]

  21.    Marty had begun speaking with the police at 6:17 a.m., when the first responders arrived,
         and Detective McCready began interviewing Marty at approximately 7:55 a.m.—one
         hour and 38 minutes later. [Defs.’ Ex. B (TT) (Daniel Gallagher) at 252:24–253:3,
         256:7–11; Defs.’ Ex. B (TT) (James McCready) 3436:10–13.] Excluding that first hour
         and 38 minutes, beginning at 7:55 a.m., Marty was then effectively confined for five-and-
         a-half hours, during which time he was separated from his family and interrogated by
         Detective McCready, Detective Rein, and Sergeant Doyle. [Defs.’ Ex. B (TT) (Daniel
         Gallagher) at 252:24–253:3, 256:7–11; Defs.’ Ex. B (TT) (James McCready) 3436:10–
         13; Defs.’ Ex. B (TT) (Marty Tankleff) 4132:7–24, 4133:3–4134:24, 4137:5–4138:9;
         Pl.’s Ex. 9 (McCready Deposition) at 344:4–345:3; Defs.’ Ex. ZZ (Tankleff Deposition)
         at 50:7–12, 102:23–103:3, 191:2–5.]

  22.    Despite Marty’s repeated requests to visit his dying father at the hospital, Detective
         McCready refused to let Marty see Seymour until after Marty came to SCPD Homicide
         Squad Headquarters. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4138:24–4139:2, 4223:13–
         24; Defs.’ Ex. ZZ (Tankleff Deposition) at 152:2–6, 390:16–392:2.] Marty didn’t think
         he had a choice about going with Detective McCready and believed that only by going
         with Detective McCready to the station would he be able to get to the hospital. [Defs.’
         Ex. ZZ (Tankleff Deposition) at 142:22–23, 152:7–15; Defs.’ Ex. KK (50-H Hearing) at
         40:20–41:6.] In their subsequent testimony at trial and in this litigation, Detective
         McCready and Detective Rein denied refusing to allow Marty to go to the hospital: they
         claimed that Marty never asked to go to the hospital. [Pl.’s Ex. 9 (McCready Deposition)
         at 176:2–18, 182:3–7; Defs.’ Ex. B (TT) (Norman Rein) at 3013:16–19.]

  23.    At the station, Marty was taken to a small, windowless interrogation room. [Defs.’ Ex. B
         (TT) (Norman Rein) 3004:13–20; Defs.’ Ex. B (TT) (Marty Tankleff) at 4147:5–11.]
         Before questioning began at the station, Marty had a cup of coffee, but he had not eaten
         anything since waking up that morning. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4147:20–
         25.]

  24.    The detectives’ interrogation was relentless; the questions “never seemed to stop” and
         there were no breaks. [Defs.’ Ex. ZZ (Tankleff Deposition) at 388:3–389:18.] From the
         minute he first spoke with the detectives that morning, Marty was questioned almost
         continuously until he broke. [Defs.’ Ex. ZZ (Tankleff Deposition) at 389:19–390:4].




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  Marty repeatedly and consistently tells the detectives he is innocent, and Detective McCready
  and Detective Rein, refusing to accept Marty’s truthful account, become aggressive.

  25.    Marty continued to protest his innocence, telling the detectives that he had nothing to do
         with the attacks on his parents [Defs.’ Ex. ZZ (Tankleff Deposition) at 398:13–15, 401:6–
         19.] The detectives made Marty tell his story 6 to 12 times and refused to accept his
         truthful account. [Defs.’ Ex. ZZ (Tankleff Deposition) at 401:6–19; Defs.’ Ex. KK (50-H
         Hearing) at 58:22–24.] As the detectives have admitted, they refused to accept Marty’s
         story and made him repeat it over and over again because they didn’t believe him. [Pl.’s
         Ex. 9 (McCready Deposition) at 283:25–285:11; Defs.’ Ex. XX (Rein Deposition) at
         136:4–17, 142:3–13.]

  26.    Detective McCready screamed and cursed at Marty and jammed his finger in Marty’s
         chest, and Detective Rein admitted he “probably raised [his] voice” as well. [Defs.’ Ex.
         KK (50-H Hearing) at 59:15–18; Defs.’ Ex. B (TT) (Marty Tankleff) at 4150:20–25,
         4154:2–13; Defs.’ Ex. XX (Rein Deposition) at 129:9–18.] Detective Rein told Marty
         that his story was “absurd” and Detective McCready told Marty that what he was telling
         them was “ridiculous.” [Defs.’ Ex. XX (Rein Deposition) at 140:21–141:5.]

  27.    Detective McCready prevented Marty from seeing his family attorney throughout the
         interrogation, despite Marty asking to speak with his “Uncle Mike”—whose given name
         was Myron Fox—approximately six times. [Defs.’ Ex. B (TT) (Marty Tankleff) at
         4149:18–24, 4245:2–7; Defs.’ Ex. ZZ (Tankleff Deposition) at 393:6–21.] Detective
         McCready knew that Uncle Mike was Marty’s family attorney and that if Uncle Mike
         said he was representing Marty, Detective McCready would have to stop questioning
         Marty. [Pl.’s Ex. 9 (McCready Deposition) at 168:8–12, 169:3–13.]

  28.    Earlier that morning, when Uncle Mike had appeared at the Tankleffs’ home, Detective
         McCready left Marty and Sergeant Doyle and “took off” towards Uncle Mike to speak
         with him. After a brief conversation, Detective McCready returned to Marty and Uncle
         Mike drove away without Marty getting to speak with him. [Defs.’ Ex. B (TT) (Marty
         Tankleff) at 4135:6–23, 4136:14–4137:7; Pl.’s Ex. 9 (McCready Deposition) at 169:20–
         22.] Stunned, Marty had asked where his Uncle Mike was going. [Defs.’ Ex. B (TT)
         (Marty Tankleff) at 4137:4–7.] According to Detective McCready, the fact that Marty
         was unable to speak at the scene to his family attorney had nothing at all to do with
         Detective McCready wanting to prevent Marty from “lawyering up.” [Pl.’s Ex. 9
         (McCready Deposition) at 173:17–22.] However, every time Marty asked during the
         interrogation to see Uncle Mike, Detective McCready said “If you want to speak with
         your Uncle Mike, you’re a criminal, we’re going to lock you up,” which scared Marty.
         [Defs.’ Ex. B (TT) (Marty Tankleff) at 4149:10–17, 4150:2–8.] Detective McCready
         denied having said this. [Pl.’s Ex. 9 (McCready Deposition) at 301:4–301:7.] Indeed,
         Detective McCready claimed that Marty never asked to see his Uncle Mike. [Pl.’s Ex. 9
         (McCready Deposition) at 182:3–19.]

  29.    At no point did the detectives properly Mirandize Marty—it was only after the detectives
         coerced Marty’s false confession that Marty was given a rights card, which he signed

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         without reading or knowing what it was. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4164:5–
         16; Defs.’ Ex. ZZ (Tankleff Deposition) at 408:2–12, 250:18–21, 251:22–252:6, 392:3–
         393:5.] Detective McCready and Detective Rein admitted that, despite Detective
         McCready’s belief about Marty’s guilt, no one informed Marty that he was a suspect or
         read him his Miranda warnings when he was first brought to the SCPD Homicide Squad
         Headquarters and questioned for hours. [Pl.’s Ex. 1 (Trainum Report) at 23, 26; Defs.’
         Ex. XX (Rein Deposition) at 156:25–157:21; Pl.’s Ex. 9 (McCready Deposition) at
         179:7–12.] Both detectives claimed, however, that Detective McCready read Marty his
         rights in the precise two minutes before Marty’s confession. [Pl.’s Ex. 9 (McCready
         Deposition) at 301:4–11; Defs.’ Ex. XX (Rein Deposition) at 156:16–24, 158:11–12,
         159:9–17, 160:3–20.]

  Detective McCready lies to Marty that his mother’s hand contained Marty’s hair.

  30.    Detective McCready challenged Marty’s truthful account that he had discovered his
         mother’s body but not touched her, saying “Marty, I can’t believe that because your
         hair’s in your mother’s hand. How did it get there?” [Defs.’ Ex. B (TT) (Marty Tankleff)
         at 4151:21–4152:2; Defs.’ Ex. KK (50-H Hearing) at 57:2–3, 57:17–58:2; Defs.’ Ex. ZZ
         (Tankleff Deposition) at 407:4–19.] This was a lie, and Marty truthfully said he didn’t
         know how his hair got there. [Defs.’ Ex. ZZ (Tankleff Deposition) at 397:9–14; Defs.’
         Ex. B (TT) (Marty Tankleff) at 4152:3–4.] At his deposition, Detective McCready
         acknowledged that it was not true that he had found Marty’s hair in Arlene’s hand, but
         denied having made this lie to Marty. [Pl.’s Ex. 9 (McCready Deposition) at 220:22–
         221:6.]

  31.    A reasonable and experienced homicide detective, following minimally accepted police
         practices, would have been aware that presenting this type of false evidence to a juvenile
         suspect, who had experienced a recent traumatic event, presented a risk of obtaining a
         false or contaminated statement. [Pl.’s Ex. 1 (Trainum Report) at 26.]

  Detective McCready lies to Marty and tells him that the police know, based on scientific
  evidence, that he showered that morning.

  32.    Detective McCready accused Marty of lying when he said he didn’t shower that morning,
         saying “Marty, I can’t believe that,” and “we did a humidity test and we know you took a
         shower that morning.” [Defs.’ Ex. B (TT) (Marty Tankleff) at 4152:5–11; Defs.’ Ex. KK
         (50-H Hearing) at 56:20–57:8.] It is undisputed that there was no humidity test. [Pl.’s Ex.
         9 (McCready Deposition) at 220:8–21.]

  33.    Marty was surprised when Detective McCready said that to him because he knew that he
         hadn’t taken a shower that morning but had taken one the night before, which he told
         Detective McCready. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4152:17–21.] Detective
         McCready refused to accept Marty’s true statement and continued to lie to Marty that the
         police knew he had showered that morning, despite the fact that Detective McCready
         knew it was a lie. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4152:22–24; Pl.’s Ex. 9
         (McCready Deposition) at 220:18–21.] Marty believed what Detective McCready was

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         telling him, because Marty “was brought up to always believe in trusting cops” and
         Detective McCready was stating that the police knew he had showered that morning as if
         it were a simple fact. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4153:10–15.]

  34.    At his deposition, Detective Rein denied that the detectives confronted Marty about the
         bathtub allegedly being wet that morning. [Defs.’ Ex. XX (Rein Deposition) at 130:2–6,
         135:8–19, 132:16–133:21.] Detective McCready claimed not to remember whether or not
         he told this lie to Marty but admitted that he may have done so. [Pl.’s Ex. 9 (McCready
         Deposition) at 220:8–21.]

  35.    A reasonable and experienced homicide detective, following minimally accepted police
         practices, would have been aware that presenting this type of false evidence to a juvenile
         suspect, who had experienced a recent traumatic event, presented a risk of obtaining a
         false or contaminated statement. [Pl.’s Ex. 1 (Trainum Report) at 26.]

  Detective McCready lies to Marty that Seymour has implicated him in the crime.

  36.    After confronting him with the two lies about his hair being found in Arlene’s hand and
         the humidity test, Detective McCready left the room, ostensibly to make a phone call, and
         Marty heard him saying something to the effect of, “Yeah, yeah. Well, that’s great.”
         [Defs.’ Ex. B (TT) (Marty Tankleff) at 4154:2–7.] Detective McCready re-entered the
         interrogation room, and turned around to face Marty, with his finger pointed at him,
         gesticulating towards Marty. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4154:8–10; 4155:3–
         10.] “Marty,” he said, “I just got off the phone with the detective at the hospital and they
         shot your father full of Adrenalin.” [Defs.’ Ex. B (TT) (Marty Tankleff) at 4154:10–13.]
         “You beat and stabbed him, Marty,” said Detective McCready. [Defs.’ Ex. B (TT) (Marty
         Tankleff) at 4154:13–14.] “You did it Marty,” said Detective McCready, “and your father
         said just tell us what we want to hear and help us.” [Defs.’ Ex. B (TT) (Marty Tankleff)
         at 4154:14–16.] Detective McCready told Marty that the police had taped the whole
         conversation with Seymour and that they would play it for Marty later. [Defs.’ Ex. B
         (TT) (Marty Tankleff) at 4155:11–18.]

  37.    This was a lie—Seymour never woke up and accused Marty of being his attacker.
         Detective McCready admitted having lied to Marty about Seymour and admits that the
         point of the ruse was to get Marty to confess, but claimed that it never occurred to him
         that Marty might be innocent and scared and in shock. [Pl.’s Ex. 9 (McCready
         Deposition) at 222:8–223:19, 229:13–19.] Detective Rein admitted that Detective
         McCready told Marty that Seymour had implicated him, that Detective McCready said it
         emphatically while standing over and pointing at Marty from three feet away, and that
         even Detective Rein thought the phone call sounded real and didn’t know at that moment
         that Detective McCready was lying. [Defs.’ Ex. B (TT) (Norman Rein) at 3249:24–
         3251:17.]

  38.    Marty told Detective McCready and Detective Rein, “I can’t believe that,” and they said,
         “Well, why would your father say that?” [Defs.’ Ex. B (TT) (Marty Tankleff) at
         4155:19–21.]

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   39.    Marty told the detectives that if Seymour had said this, it must be because Marty had
          been the last person Seymour saw that morning, when Marty helped him. [Defs.’ Ex. ZZ
          (Tankleff Deposition) at 248:3–17.] Marty felt aghast and stunned, in shock and disbelief.
          [Defs.’ Ex. KK (50-H Hearing) at 54:13–17.] The detectives repeatedly told Marty that
          his father would not lie about this. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4155:25–
          4156:2.]

   40.    Marty volunteered to take a polygraph. [Defs.’ Ex. ZZ (Tankleff Deposition) at 248:18–
          22, 401:24–402:11, 403:2–22.] At his deposition, Detective McCready admitted that the
          detectives could have given Marty a polygraph at the time but chose not to. [Pl.’s Ex. 9
          (McCready Deposition) at 237:4–8.] Instead, the detectives rebuffed his offer and just
          insisted that Marty confess, telling him, “Well, Marty, you know your father said you did
          this. We’ve got your hair in your mother’s hand. Just say you did it.” [Defs.’ Ex. B (TT)
          (Marty Tankleff) at 4156:3–7.]

   41.    A reasonable and experienced homicide detective, following minimally accepted police
          practices, would have been aware that the ruse that Marty’s father was accusing him of
          committing the crime, combined with the other techniques that had already been
          deployed and with the suspect’s background, created a serious risk of obtaining a false or
          contaminated statement. [Pl.’s Ex. 1 (Trainum Report) at 27.]

   Having been told that his father had implicated him, Marty breaks down and accepts the
   detectives’ lies.

   42.    Marty started believing the lies that the detectives were telling him, because “they were
          saying my father said I did this” and “my father never lied to me.” [Defs.’ Ex. B (TT)
          (Marty Tankleff) at 4156:11–14.] The detectives suggested that Marty had committed the
          murders, and—faced with the lie that his own father had implicated him, the lies about
          physical evidence implicating him, and the detectives’ insistence that Marty confess—
          Marty asked if he might in fact have blacked out. [Defs.’ Ex. KK (50-H Hearing) at
          58:16–24; Defs.’ Ex. B (TT) (Marty Tankleff) at 4156:7–14.]

   43.    The detectives encouraged Marty to believe that he was guilty and to confess, telling him
          that “there’s a Marty inside of you that knows what happened” and that he should “have
          that Marty tell us what happened.” [Defs.’ Ex. B (TT) (Marty Tankleff) at 4156:15–19.]
          Despite the fact that he had not killed his parents, had no memory of killing them, and as
          a result had no knowledge of what happened to them, Marty told the detectives “Yeah, I
          did it,” because the detectives “had [him] believing that [he] did it” and because it was
          “what they wanted to hear.” [Defs.’ Ex. B (TT) (Marty Tankleff) at 4156:19–4157:4,
          4088:13–17.] When Marty broke down and told the detectives what they wanted to hear,
          he did so without considering what the consequences of this false confession would be
          because, in his shock and trauma, he “thought it was all a nightmare and he was going to
          wake up and it would be all over.” [Defs.’ Ex. B (TT) (Marty Tankleff) at 4157:5–7,
          4163:25–4164:4.]



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    DETECTIVE MCCREADY AND DETECTIVE REIN FABRICATE THE DETAILS OF
                        MARTY’S “CONFESSION”

   Marty does not know the details of his parents’ murders because he is innocent.

   44.    Although the detectives’ coercion caused him to falsely admit responsibility for the attack
          on his parents, Marty was innocent; he did not kill his parents. [Defs.’ Ex. BB (TT)
          (Marty Tankleff) at 4088:13–17, 4156:24–4157:4.] He did not know exactly how his
          parents had come to be murdered because he was asleep at the time. [Defs.’ Ex. ZZ
          (Tankleff Deposition) at 288:3–290:10.] Furthermore, he was not a trained homicide
          investigator who was trained to discern details of how a murder had occurred from
          viewing a crime scene.

   45.    As a result, he repeatedly told detectives that he could not provide details of his parents’
          murders by stating, for example, “I don’t know. I didn’t do this.” [Defs.’ Ex. B (TT)
          (Marty Tankleff) at 4158:22–23; Defs.’ Ex. ZZ (Tankleff Deposition) at 401:6–19.]

   During his walk-throughs of the crime scene, Detective McCready makes a number of
   observations and formulates a theory of how Marty committed the murders.

   46.    While at the crime scene, Detective McCready conducted two walk-throughs of the
          Tankleffs’ home, in addition to talking to Marty several times. [Pl.’s Ex. 1 (Trainum
          Report) at 18, 21; Defs.’ Ex. C (McCready Supp. Report) at 2–5; Pl.’s Ex. 9 (McCready
          Deposition) at 94:18–95:3.] At that time, Detective McCready was already suspicious
          that Marty was guilty. [Pl.’s Ex. 9 (McCready Deposition) at 77:20–24, 93:24–94:4.]
          Detective McCready testified that, during his walk-throughs, he tried to reconstruct in his
          mind what had happened and that he made mental observations, trying to figure out what
          took place. [Pl.’s Ex. 1 (Trainum Report) at 23; Pl.’s Ex. 9 (McCready Deposition) at
          94:8–95:3; 97:17–99:5.] Detective McCready made observations in Seymour’s office, the
          kitchen, the master bedroom, and Marty’s bedroom; he also examined the phones in the
          office and kitchen, as well as the garage door. [Defs.’ Ex. C (McCready Supp. Report) at
          2, 4–5.]

   47.    During his walk-throughs, also formulated a theory of how Marty committed the
          murders. [Pl.’s Ex. 1 (Trainum Report) at 18; Pl.’s Ex. 9 (McCready Deposition) at 94:8–
          95:3, 97:17–99:5.] Describing his process, Detective McCready stated that he “made
          certain observations about the room and [he] tried to mentally get a picture of what this
          room looked like and tried to basically reconstruct what [he] might hypothesize as to
          what might have happened in the room.” [Defs.’ Ex. R (Huntley Hearing) at 311:9–13.].
          According to Detective Rein, Detective McCready was “very skilled” at assessing crime
          scenes, more so than the average homicide detective. [Defs.’ Ex. XX (Rein Deposition) at
          11:2–25.] For example, Detective McCready formulated the following theories:

              a) The Tankleffs’ home was a very long ranch-style house. Marty’s bedroom was
                 across the hall from the master bedroom, where Arlene’s body was found. The
                 office where Seymour was found was on the other end of the house from Marty’s

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                bedroom. [Pl.’s Ex. 1 (Trainum Report) at 23; Pl.’s Ex. 9 (McCready Deposition)
                at 308:20–309:11.] Based on these observations, an experienced investigator
                operating on the theory that Marty was guilty would have hypothesized that
                Marty attacked his mother first, given her geographic proximity to his bedroom.
                [Pl.’s Ex. 1 (Trainum Report) at 25.] Detective McCready also testified that, “if
                Marty woke up in the morning and decided to kill his parents, he would have
                seen his mom first.” [Pl.’s Ex. 9 (McCready Deposition) at 309:12–19.]

             b) In the office, although Seymour himself had been taken to the hospital, Detective
                McCready saw blood pooled in the base of Seymour’s office chair. As an
                experienced homicide investigator, Detective McCready took the fact that that
                blood was pooled in the chair to mean that Seymour had been bleeding in that
                chair for a while. [Pl.’s Ex. 1 (Trainum Report) at 24; Pl.’s Ex. 9 (McCready
                Deposition) at 101:20–102:4, 106:7–22.] Based on this observation, an
                experienced investigator operating on the theory that Marty was guilty would
                have hypothesized that Marty attacked his father while his father was seated in
                his office chair at his desk. [Pl.’s Ex. 1 (Trainum Report) at 25.]

             c) Detective McCready had observed blood spatter in the office, which he testified
                he knew to occur when someone who has been struck bleeds, and then is struck
                again. [Pl.’s Ex. 1 (Trainum Report) at 24; Pl.’s Ex. 9 (McCready Deposition) at
                132:6–25.] Detective McCready also testified that he had spoken to Detective
                Pfalzgraf, the SCPD Homicide Squad detective who was at the hospital where
                Seymour was being treated, and from whom he had learned that Seymour had
                been both bludgeoned and stabbed. [Pl.’s Ex. 9 (McCready Deposition) at
                328:15–22; Defs.’ Ex. C (McCready Supp. Report) at 6.] Based on this
                knowledge, an experienced investigator operating on the theory that Marty was
                guilty would have hypothesized that Marty attacked his father with both a blunt
                and a sharp instrument, hitting him on the head and cutting his throat. [Pl.’s Ex. 1
                (Trainum Report) at 25.]

             d) Detective McCready also had noticed that there was blood spatter on the phone
                in the office, but that it was not smeared, and that there was no blood on the
                kitchen phones. [Defs.’ Ex. C (McCready Supp. Report) at 4.] As a result, he
                testified that he had believed that Marty had not used the office phone to call
                911, even though Marty had told him that he did during their initial conversation,
                instead deciding that Marty must have used the phone in the master bedroom to
                place the 911 call. [Pl.’s Ex. 1 (Trainum Report) at 24; Pl.’s Ex. 9 (McCready
                Deposition) at 148:23–155:16.]

             e) In the master bedroom, after taking all the time he needed to look at Arlene’s
                body fairly closely, Detective McCready could see blood on the sheets and on
                the wall. [Pl.’s Ex. 1 (Trainum Report) at 24; Pl.’s Ex. 9 (McCready Deposition)
                at 129:4–130:3.] Based on these observations, an experienced investigator
                operating on the theory that Marty was guilty would have hypothesized that
                Marty struggled with his mother in the bedroom. [Pl.’s Ex. 1 (Trainum Report) at

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                25.] Detective McCready also testified that he remembered, upon viewing the
                master bedroom, believing that “there was obviously an obvious struggle in
                there” between Arlene, who was lying face-up, and her attacker. [Pl.’s Ex. 9
                (McCready Deposition) at 260:14–261:14.]

             f) In addition to having seen blood on the sheets and on the wall of the master
                bedroom, Detective McCready knew that Arlene’s throat had been cut and knew,
                because Detective Pfalzgraf had informed him, that Seymour had been
                bludgeoned as well as stabbed. [Pl.’s Ex. 9 (McCready Deposition) at 132:16–
                25, 328:12–22; Defs.’ Ex. C (McCready Supp. Report) at 6.] It was also obvious
                that Arlene had an injury to the left side of her head. [Pl.’s Ex. 45 (Arlene Head
                Photograph); Pl.’s Ex. 9 (McCready Deposition) at 129:4–130:3, 253:10–260:13,
                331:11–332:23, 336:2–337:20.] Based on this knowledge, an experienced
                investigator operating on the theory that Marty was guilty would have
                hypothesized that, based on the blood spatter in the master bedroom, the injuries
                visible on Arlene’s head, and the report from Detective Pfalzgraf of the types of
                injuries Seymour had sustained, Marty attacked Arlene with both a blunt and a
                sharp instrument, hitting her on the head and cutting her throat. [Pl.’s Ex. 1
                (Trainum Report) at 25.]

             g) In the kitchen, Detective McCready observed a knife sitting next to a watermelon
                on the countertop—the “watermelon knife.” [Pl.’s Ex. 1 (Trainum Report) at 24;
                Pl.’s Ex. 9 (McCready Deposition) at 100:6–23; Defs.’ Ex. XX (Rein
                Deposition) at 97:11–98:20.] There was visible pinkish material on the
                watermelon knife when it was sitting on the countertop. [Pl.’s Ex. 12 (Baumann
                Deposition) at 139:15–23.] Detective McCready also knew that Arlene had a
                knife wound, and that both Arlene and Seymour had been stabbed. [Pl.’s Ex. 9
                (McCready Deposition) at 252:23–253:5, 328:12–22.] Based on these
                observations, an experienced investigator operating on the theory that Marty was
                guilty would have hypothesized that Marty used the watermelon knife visible on
                the kitchen countertop to stab his parents. [Pl.’s Ex. 1 (Trainum Report) at 25.]

             h) In Marty’s bedroom, Detective McCready stood for about a minute and looked
                around. [Pl.’s Ex. 9 (McCready Deposition) at 98:19–22.] A set of barbells with
                a reddish substance on them was in plain view. [Pl.’s Ex. 1 (Trainum Report) 24;
                Pl.’s Ex. 12 (Baumann Deposition) at 163:24–6; Pl.’s Ex. 9 (McCready
                Deposition) at 329:7–331:10.] Based on this observation, an experienced
                investigator operating on the theory that Marty was guilty would have
                hypothesized that Marty used the barbells to bludgeon his parents. [Pl.’s Ex. 1
                (Trainum Report) at 25.]

             i) No bloody clothes, gloves, or shoes that could have been worn by the
                perpetrator, or any weapons obviously covered in blood, were visible anywhere
                in the Tankleffs’ home. [Pl.’s Ex. 34 (Baumann Serology Log) at 1–3; Pl.’s Ex.
                37 (Baumann Serology Report) at 1–17; Pl.’s Ex. 9 (McCready Deposition) at
                327:4–15.] Nor had Detective McCready observed a large amount of blood on

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                 Marty’s person. [Defs.’ Ex. XX (Rein Deposition) at 85:22–86:14, 102:7–13;
                 Defs.’ Ex. B (TT) (Norman Rein) at 3160:2–4; Pl.’s Ex. 10 (Palmbach Report) at
                 7.] It was also readily apparent to detectives that there was some residual water
                 in the shower and that there was a damp towel in Marty’s bedroom. [Defs.’ Ex. B
                 (TT) (Charles Kosciuk) at 1579:11–22; Defs.’ Ex. YY (Doyle Deposition) at
                 235:20–237:11.] Based on these facts, an experienced investigator operating on
                 the theory that Marty was guilty would have hypothesized that Marty committed
                 the murders naked, in order to account for the lack of bloody clothing in the
                 house, and then showered himself and the weapons he used off to remove all the
                 blood. [Pl.’s Ex. 1 (Trainum Report) at 25.]

   48.   According to Plaintiff’s police practices expert James Trainum, as an experienced
         homicide investigator, Detective McCready’s observations “would have relied on his
         experience as a homicide investigator and familiarity with basic crime scene principles,”
         many of which would not have been possible for a lay person, for example: (1) Detective
         McCready’s knowledge that blood spatter reflected the fact that someone had been
         struck, bled, and then struck again; (2) Detective McCready’s conclusion that pooled
         blood in Seymour’s chair indicated that Seymour had been bleeding in that chair for a
         while; and (3) Detective McCready’s (ultimately erroneous) conclusion that there had
         been an obvious struggle between Arlene and her attacker. [Pl.’s Ex. 1 (Trainum Report)
         at 24.] Trainum also noted that, if Detective McCready had formed an opinion as to
         Marty’s guilt within an hour of arriving at the crime scene, this would be an early
         warning sign for tunnel vision. [Pl.’s Ex. 1 (Trainum Report) at 23.]

   49.   While still at the crime scene, Detective McCready had a conversation with Sergeant
         Doyle and Detective Rein about what he had observed in the Tankleffs’ home. [Defs.’
         Ex. C (McCready Supp. Report) at 6.] For example, they discussed the fact that there was
         no blood on Marty’s clothes, the fact that the blood on the telephone in the office was not
         smeared, and their perception that Marty had displayed a lack of emotion. [Defs.’ Ex. XX
         (Rein Deposition) at 80:12–24, 85:7–18, 86:4–23, 102:7–18; Pl.’s Ex. 9 (McCready
         Deposition) at 77:20–24, 93:24–94:4.] Once at the station, Detective McCready and
         Detective Rein again met and discussed the case, including the physical evidence from
         the scene. [Pl.’s Ex. 1 (Trainum Report) at 25; Defs.’ Ex. XX (Rein Deposition) at 99:17–
         100:7.] And after Marty’s interrogation began, there were a number of calls between
         detectives at the scene and Detective McCready and Detective Rein at SCPD Homicide
         Squad Headquarters. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 217:22–218:3.]
         Lieutenant McElhone described them as having had an “open channel of communication”
         between the crime scene, the hospital and Detective McCready and Detective Rein. [Pl.’s
         Ex. 8 (McElhone 2014 Deposition) at 218:22–219:2.] For example, if Sergeant Doyle had
         been at the crime scene and made an observation, he would be making sure that Detective
         McCready and Detective Rein were as informed as him, “if it was pertinent.” [Pl.’s Ex. 8
         (McElhone 2014 Deposition) at 220:12–19.] Sergeant Doyle himself also indicated that
         he relayed information from the scene, such as the presence of water in the bathroom, to
         the detectives at the station. [Defs.’ Ex. YY (Doyle Deposition) at 235:20–237:11.]




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   50.    After Detective McCready left the crime scene to transport Marty to headquarters,
          Detective Rein remained behind to “look at the scene and get a better perspective of the
          layout of the property and what might have transpired inside.” [Defs.’ Ex. XX (Rein
          Deposition) at 91:17–92:2.] Rein slowly walked around the house for approximately
          twenty minutes, and looked into the kitchen, the office, and master bedroom, where he
          had an unobstructed view of Arlene’s body. [Defs.’ Ex. XX (Rein Deposition) at 94:2–
          95:18.]

   According to Detective McCready and Detective Rein, Marty gives a detailed narrative
   confession to killing his parents.

   51.    It was standard practice in SCPD Homicide Squad investigations to withhold details
          about the crime from the public, so that these nonpublic details could later be used to
          verify the reliability of any confession by demonstrating the confessor’s guilty
          knowledge. [Pl.’s Ex. 2 (McElhone 2011 Deposition) at 58:6–17.] The detectives on the
          case understood in 1988 that if a confessing suspect volunteered nonpublic facts about
          how a crime occurred without suggestion, that would provide independent corroboration
          of the confession and powerful evidence at trial that the confession was reliable. [Pl.’s
          Ex. 9 (McCready Deposition) at 21:15–26:21, 24:20–26:16; Defs.’ Ex. YY (Doyle
          Deposition) at 24:16–23.] They also understood in 1988 that feeding details to a suspect
          about how a crime occurred was a violation of basic police practices. [Defs.’ Ex. XX
          (Rein Deposition) at 32:15–33:19, 53:11–20; Pl.’s Ex. 9 (McCready Deposition) at
          24:20–27:3.]

   52.    The detectives reported that, after he first said “I did it,” Marty began responding to
          open-ended questions, and volunteered a detailed narrative confession. [Defs.’ Ex. XX
          (Rein Deposition) at 168:12–169:22.] Marty denied doing so, saying that, instead, the
          detectives suggested each detail to him, and he merely acquiesced to their suggestions.
          [Defs.’ Ex. B (TT) (Marty Tankleff) at 4157:7–23, 4159:8–4161:21; Defs.’ Ex. KK (50-
          H Hearing) at 88:6–15, 89:5–16, 100:9–24, 102:9–13; Defs.’ Ex. ZZ (Tankleff
          Deposition) at 258:25–3, 266:3–270:4.]

   53.    The detectives could have taped the interrogation with Marty, but chose not to. [Defs.’
          Ex. XX (Rein Deposition) at 149:10–12, 150:13–15; Pl.’s Ex. 9 (McCready Deposition)
          at 182:20–187:19, 288:18–289:4, 302:14–303:22.]

   54.    All of the details that Detective McCready and Detective Rein claimed Marty volunteered
          in his “confession” conveniently matched the observations they had made and the theory
          they had formulated at the crime scene during and after the walk-throughs. For example,
          the confession contained the following statements:

             a) “I asked him what he was wearing. He said he was naked because he didn’t want
                to leave any blood on his clothing.” [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’
                Ex. C (McCready Supp. Report) at 11; Pl.’s Ex. 9 (McCready Deposition) at
                293:22–294:2; Defs.’ Ex. XX (Rein Deposition) at 168:18–20.]



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            b) “I asked him who he killed first. He said he killed his MOM first.” [Pl.’s Ex. 1
               (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 11–12; Pl.’s
               Ex. 9 (McCready Deposition) at 293:12–15; Defs.’ Ex. XX (Rein Deposition) at
               206:17–20.]

            c) “I asked him what he did to his mother. He said he hit his mother with a
               dumbbell, then cut her throat.” [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’ Ex. C
               (McCready Supp. Report) at 12; Pl.’s Ex. 9 (McCready Deposition) at 293:16–20,
               314:19–21; Defs.’ Ex. XX (Rein Deposition) at 182:24–183:4.]

            d) “I asked him how many times he hit her. He said he hit her at least four to five
               times on the head. He wasn’t sure. He kept on trying to hit her. She fought with
               him.” [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report)
               at 12.]

            e) “He said he was afraid his father would wake up, and that after [Arlene] fell on
               the floor, he ran and got a knife from the kitchen and cut her throat. I asked him
               where the knife was. He said the knife was on the counter next to the
               watermelon.” [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp.
               Report) at 12; Pl.’s Ex. 9 (McCready Deposition) at 314:22–24, 316:5–12; Defs.’
               Ex. XX (Rein Deposition) at 183:5–10, 195:22–196:8.]

            f) “I asked him if she was dead when he left the room. He said, no, she was moving
               a little bit when he ran out of the bedroom to kill his father. I asked him if his
               father was still in the office. He said yes, his father was still in the office. He was
               sitting at his desk.” [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’ Ex. C (McCready
               Supp. Report) at 12; Defs.’ Ex. XX (Rein Deposition) at 185:23–25.]

            g) “I asked him if he went in [the office] naked. He said he was still naked. I asked
               him what he did with the knife, and the dumbbell. He said he walked in with the
               knife and the dumbbell behind his back.” [Pl.’s Ex. 1 (Trainum Report) at 28;
               Defs.’ Ex. C (McCready Supp. Report) at 12; Pl.’s Ex. 9 (McCready Deposition)
               at 294:3–14, 316:13–20, 317:10–18.]

            h) “I asked him what he did first, cut his throat, or hit him. He said he got behind his
               father and hit him with the barbell first.” [Pl.’s Ex. 1 (Trainum Report) at 28;
               Defs.’ Ex. C (McCready Supp. Report) at 12; Pl.’s Ex. 9 (McCready Deposition)
               at 294:11–14, 317:19–21; Defs.’ Ex. XX (Rein Deposition) at 186:2–6.]

            i) “He volunteered that he ‘knocked him silly.’” [Pl.’s Ex. 1 (Trainum Report) at 28;
               Defs.’ Ex. C (McCready Supp. Report) at 12; Defs.’ Ex. XX (Rein Deposition) at
               186:7–12.]

            j) “I asked him how he kept his father from getting out of the chair. He said his
               father’s feet were under the desk so he couldn’t get up.” [Pl.’s Ex. 1 (Trainum
               Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12.]

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             k) “I asked him what he did next and he said he slashed his father’s neck. I asked
                him if he knew how many times he hit, or cut his father. He said he didn’t know
                how many times he hit or cut him. Again, he volunteered that he couldn’t believe
                all the blood.” [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp.
                Report) at 12.]

             l) “I asked him what he did with the knife and the barbell. He said he washed off the
                knife and the barbell in the shower. I asked him what he did with the barbell and
                the knife after he washed them off. He said he put the barbell back in his
                bedroom, and he put the knife on the counter by the watermelon.” [Pl.’s Ex. 1
                (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12; Defs.’ Ex.
                XX (Rein Deposition) at 195:12–21.]

             m) “I asked him what happened when he got up. He said he went back to the office,
                and saw that his father was still alive. He then went to his mother’s room to see if
                she was dead. He said he called 911 from his mother’s room.” [Pl.’s Ex. 1
                (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12; Defs.’ Ex.
                XX (Rein Deposition) at 189:6–7.]

   55.    Detective McCready and Detective Rein have both consistently created reports and in
          testified that each of the details in this “confession” originated with Marty and not with
          either of them. [Pl.’s Ex. 1 (Trainum Report) at 29; Defs.’ Ex. C (McCready Supp.
          Report) at 10–13; Defs.’ Ex. XX (Rein Deposition) at 168:12–169:22.] For example,
          Detective Rein testified at his deposition that “[they] were allowing him to tell the story”
          and “didn’t color it in any way.” [Defs.’ Ex. XX (Rein Deposition) at 207:8–18.]

   All of the details in Marty’s “confession” conveniently matches observations that the
   detectives have made at the crime scene during earlier walk-throughs.

   56.    Detective McCready and Detective Rein believed at the time of the interrogation that,
          based on the layout of the house, Marty killed his mother first. [Pl.’s Ex. 9 (McCready
          Deposition) at 308:15–309:19; Pl.’s Ex. 1 (Trainum Report) at 25.] Marty’s “confession”
          indicated that he had killed his mother first. [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’
          Ex. C (McCready Supp. Report) at 11–12; Pl.’s Ex. 9 (McCready Deposition) at 293:12–
          15; Defs.’ Ex. XX (Rein Deposition) at 206:17–20.]

   57.    Detective McCready and Detective Rein also believed at the time of the interrogation
          that, based on the blood spatter in the master bedroom, Arlene would have struggled with
          Marty when he attacked her. [Pl.’s Ex. 9 (McCready Deposition) at 129:4–130:3, 260:14–
          261:14; Pl.’s Ex. 1 (Trainum Report) at 25; Defs.’ Ex. YY (Doyle Deposition) at 127:17–
          129:9.] Marty’s “confession” indicated that he had “fought” with Arlene during the
          attack. [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12.]

   58.    Detective McCready and Detective Rein also believed at the time of the interrogation
          that, based on observations of Arlene and the master bedroom, as well as a conversation

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         with Detective Pfalzgraf, Marty attacked Arlene with both a blunt and a sharp instrument,
         hitting her on the head and cutting her throat. [Pl.’s Ex. 9 (McCready Deposition) at
         129:4–130:3, 132:16–25, 253:10–260:13, 328:12–22, 331:11–332:23, 336:2–337:20;
         Pl.’s Ex. 1 (Trainum Report) at 25; Pl.’s Ex. 45 (Arlene Head Photograph).] Marty’s
         “confession” indicated that he had hit his mother and then cut her throat. [Pl.’s Ex. 1
         (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12; Pl.’s Ex. 9
         (McCready Deposition) at 293:16–20, 314:19–21; Defs.’ Ex. XX (Rein Deposition) at
         182:24–183:4.]

   59.   Detective McCready and Detective Rein also believed at the time of the interrogation
         that, based on the fact that a set of barbells with a reddish substance on them was in plain
         view in Marty’s bedroom, Marty used one of the barbells to bludgeon his parents. [Pl.’s
         Ex. 9 (McCready Deposition) at 98:19–22, 329:7–331:10; Pl.’s Ex. 12 (Baumann
         Deposition) at 163:24–164:6; Pl.’s Ex. 1 (Trainum Report) at 24–25.] Marty’s
         “confession” indicated that he had used a barbell to bludgeon his parents. [Pl.’s Ex. 1
         (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12; Pl.’s Ex. 9
         (McCready Deposition) at 293:16–20, 314:19–21; Defs.’ Ex. XX (Rein Deposition) at
         182:24–183:4.]

   60.   Detective McCready and Detective Rein also believed at the time of the interrogation
         that, based on observations of Arlene’s body and the knowledge that both Arlene and
         Seymour had been stabbed, Marty had used a knife to stab his parents. [Pl.’s Ex. 1
         (Trainum Report) at 25; Pl.’s Ex. 9 (McCready Deposition) at 252:23–253:5.] They also
         believed at the time of the interrogation, based on the observation of the watermelon
         knife with a pinkish material on it on the kitchen countertop, that Marty had used this
         particular knife to stab his parents. [Pl.’s Ex. 1 (Trainum Report) at 25; Pl.’s Ex. 9
         (McCready Deposition) at 100:6–23, 328:12–22; Pl.’s Ex. 12 (Baumann Deposition) at
         139:15–23.] Marty’s “confession” indicated that, afraid Seymour would wake up after he
         had hit his mother with the barbell, he ran and got the watermelon knife from the kitchen
         to stab his mother. [Pl.’s Ex. 1 (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp.
         Report) at 12; Pl.’s Ex. 9 (McCready Deposition) at 314:22–24, 316:5–12; Defs.’ Ex. XX
         (Rein Deposition) at 183:5–10, 195:22–196:8.]

   61.   Detective McCready and Detective Rein also believed at the time of the interrogation
         that, based on the blood pooled in Seymour’s chair, Marty attacked his father while his
         father was seated at his desk. [Pl.’s Ex. 9 (McCready Deposition) at 101:20–102:4; Pl.’s
         Ex. 1 (Trainum Report) at 24–25; Pl.’s Ex. 9 (McCready Deposition) at 106:7–22; Defs.’
         Ex. XX (Rein Deposition) at 186:16–187:3).] Marty’s “confession” indicated that his
         father had been sitting at his desk when he came into the office. [Pl.’s Ex. 1 (Trainum
         Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12; Defs.’ Ex. XX (Rein
         Deposition) at 185:23–25.]

   62.   Detective McCready and Detective Rein also believed at the time of the interrogation
         that, based on the blood spatter in the office and their knowledge that Seymour had been
         both bludgeoned and stabbed, Marty attacked his father with both a blunt and a sharp
         instrument, first hitting him on the head and then cutting his throat. [Pl.’s Ex. 1 (Trainum

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         Report) at 24–25; Pl.’s Ex. 9 (McCready Deposition) at 132:6–25, 328:15–22.] Marty’s
         “confession” indicated that he walked into the office with the knife and barbell, hit his
         father with the barbell, and then slashed his father’s neck. [Pl.’s Ex. 1 (Trainum Report)
         at 28; Defs.’ Ex. C (McCready Supp. Report) at 12; Pl.’s Ex. 9 (McCready Deposition) at
         294:3–14, 316:13–20, 317:10–21; Defs.’ Ex. XX (Rein Deposition) at 186:2–8.]

   63.   Detective McCready and Detective Rein also believed at the time of the interrogation
         that, based on the fact that there was no blood on the kitchen phones and that the blood
         spatter on the phone in the office was not smeared, Marty had used the phone in the
         master bedroom to place the 911 call. [Defs.’ Ex. C (McCready Supp. Report) at 4; Pl.’s
         Ex. 1 (Trainum Report) at 24; Pl.’s Ex. 9 (McCready Deposition) at 148:23–155:16.]
         Marty’s “confession” indicated that he called 911 from the master bedroom. [Pl.’s Ex. 1
         (Trainum Report) at 28; Defs.’ Ex. C (McCready Supp. Report) at 12; Defs.’ Ex. XX
         (Rein Deposition) at 189:6–7.]

   64.   Finally, Detective McCready and Detective Rein believed at the time of the interrogation
         that, based on the fact that they had not observed any bloody clothes anywhere in the
         Tankleffs’ home and the fact that Marty was not covered in blood, Marty had committed
         the murders naked. They also believed at the time of the interrogation that, based on these
         observations as well as the fact that neither the watermelon knife in the kitchen or the
         barbells in Marty’s bedroom were covered in blood, and the fact that the shower and
         towel were wet, Marty had showered himself and the weapons he used after the murders.
         [Pl.’s Ex. 1 (Trainum Report) at 25; Defs.’ Ex. XX (Rein Deposition) at 85:22–86:14,
         102:5–18; Defs.’ Ex. B (TT) (Norman Rein) at 3160:17–3161:4; Pl.’s Ex. 34 (Baumann
         Serology Log) at 1–3; Pl.’s Ex. 37 (Baumann Serology Report) at 1–17; Pl.’s Ex. 9
         (McCready Deposition) at 327:4–15.] Marty’s “confession” indicated that he had
         committed the crimes naked because he didn’t want to leave any blood on his clothing,
         and that he had then washed the barbell and knife in the shower and put them back in his
         bedroom and on the kitchen countertop, respectively. [Pl.’s Ex. 1 (Trainum Report) at 28;
         Defs.’ Ex. C (McCready Supp. Report) at 11–12; Pl.’s Ex. 9 (McCready Deposition) at
         293:22–294:2; Defs.’ Ex. XX (Rein Deposition) at 168:18–20, 195:12–196:8.]

   65.   On the basis of the detectives’ representations that Marty had independently offered each
         of the details in the “confession,” which were consistent with the detectives’ observations
         at the crime scene, Marty was arrested and charged with the murder of his mother and the
         attempted murder of his father. [Pl.’s Ex. 1 (Trainum Report) at 29; Defs.’ Ex. R
         (Huntley Hearing) at 160:17–161:4.]

   66.   A week after the interrogation, Detective McCready created a 14-page narrative-form
         report of the “confession,” which was rich in details concerning the verbal exchanges
         between Detective McCready, Detective Rein, and Marty. In the process of preparing his
         report, Detective McCready reviewed Detective Rein’s notes of the interrogation and had
         discussions with Rein concerning their respective recollections of the interrogation.
         [Defs.’ Ex. XX (Rein Deposition) at 58:22–60:15.] However, this level of detail is not
         found in the detectives’ handwritten notes. [Pl.’s Ex. 1 (Trainum Report) at 30; Defs.’ Ex.



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          C (McCready Supp. Report) at 11–13; Pl.’s Ex. 50 (McCready Handwritten Notes) at 12–
          16; see generally Pl.’s Ex. 51 (Rein Handwritten Notes) at 1–38.]

   67.    Detective McCready acknowledged that Marty’s “confession,” and his resulting report,
          only contained information known to the homicide detectives at the time of the
          interrogation, and did not contain any information not known to them at the time. [Pl.’s
          Ex. 9 (McCready Deposition) at 341:24–346:23; Pl.’s Ex. 1 (Trainum Report) at 29.] A
          reasonable and experienced homicide detective would recognize this as a warning sign
          for a false or contaminated statement, and minimally accepted police practices would
          require him to evaluate whether the details of the confession matched what he had
          hypothesized about how the attacks had been committed prior to the interrogation. [Pl.’s
          Ex. 1 (Trainum Report) at 29.]

   68.    Lieutenant McElhone also testified that all the details in the “confession” were consistent
          with what the detectives had seen. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 210:25–
          211:11.] In fact, Detective McCready reported to Lieutenant McElhone that the “details
          that Marty was volunteering in the course of giving the confession were consistent with
          what he had seen at the crime scene” [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 207:16–
          21.] For a reasonable and experienced supervisor, who was aware of the background
          context in the SCPD Homicide Squad, the fact that Marty’s “confession” included only
          information known to the detectives at the time of the interrogation would be a warning
          sign, and would require supervisory follow-up. [Pl.’s Ex. 1 (Trainum Report) at 29.]

   69.    In contrast, the “confession” does not contain details of which the detectives were not
          aware at the time they interrogated Marty. For example, the detectives did not view
          Arlene’s back at the crime scene, and were unaware that Arlene had been attacked from
          behind, including cuts in the back of her shoulder and stabs to her back. These details are
          not in Detective McCready’s report of the “confession.” [Defs.’ Ex. C (McCready Supp.
          Report) at 11–13; Pl.’s Ex. 9 (McCready Deposition) at 332:24–333:19, 337:15–339:18.]

   70.    Detective McCready admitted that the knife, the barbells, the location of the rooms, the
          blows to Arlene’s head and the fact that her throat was cut was all information that was
          available to the police at the time, and that the information that was not available to him
          at the time—that Arlene was attacked from behind, that the back of her head was
          smashed in, that her shoulder was cut in the back, that she was stabbed in the back—is
          not in the confession. [Pl.’s Ex. 9 (McCready Deposition) at 341:24–342:12, 353:9–
          355:18.] Similarly, the confession doesn’t mention the fact that the killer(s) wore gloves,
          another fact not known to the detectives at the time of the interrogation. [Pl.’s Ex. 9
          (McCready Deposition) at 343:4–10.]

   In fact, Marty did not voluntarily “confess,” but rather was fed the narrative details that the
   detectives had hypothesized during their walk-throughs.

   71.    However, Marty testified that he did not independently volunteer the details in the
          confession. Instead, Marty testified that he thought he was having a bad nightmare.
          [Defs.’ Ex. B (TT) (Marty Tankleff) at 4157:7.] The detectives were pressing on very

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         quickly and the tone of the interrogation “wasn’t so much questioning” as it was
         “suggesting” by the detectives. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4157:11–14.]
         Detective McCready made statements such as “Well, you killed your mother first, didn’t
         you?” and when Marty said no, the detectives said “Well, Marty, we don’t want to hear
         no. Just say yes.” [Defs.’ Ex. B (TT) (Marty Tankleff) at 4157:15–23.] Similarly, the
         suggestion that Marty had used the watermelon knife came exclusively from the
         detectives, as did the suggestion that Marty had used a barbell from his room. [Defs.’ Ex.
         B (TT) (Marty Tankleff) at 4159:8–4160:2; Defs.’ Ex. KK (50-H Hearing) at 88:6–15,
         100:9–24, 102:9–13.] Building on his earlier lie that the detectives knew that Marty had
         showered that morning, Detective McCready told Marty that he had murdered his parents
         while naked, and that he had washed off the knife in the shower. Marty acquiesced to
         both of these false statements. [Defs.’ Ex. B (TT) (Marty Tankleff) at 4160:19–4161:21.]

   72.   Aside from the “confession” taken from him on September 7, Marty never indicated in
         any way that he had been involved in his parents’ murders. In fact, shortly after his arrest,
         Marty told his step-sister, Shari Rother, that the detectives “made” him confess, and from
         that point until the present day has maintained his innocence. [Defs.’ Ex. B (TT) (Marty
         Tankleff) at 4167:16–18; 4171:23–25; Defs.’ Ex. KK (50-H Hearing) at 63:18–24; Pl.’s
         Ex. 1 (Trainum Report) at 31.] Ms. Rother confirmed that Marty had told her that the
         detectives made him confess. [Defs.’ Ex. R (Huntley Hearing) at 1956:8–1957:2.]

   73.   It was Lieutenant McElhone’s understanding, from Detective McCready and Detective
         Rein, that Marty had volunteered the narrative details in the “confession.” [Pl.’s Ex. 8
         (McElhone 2014 Deposition) at 222:24–223:10.] Lieutenant McElhone also testified that,
         if details in the confession such as using the watermelon knife and barbell, had come
         from Detective McCready and/or Detective Rein instead of Marty volunteering them, that
         this would cause him concern as a supervisor about the confession’s reliability. [Pl.’s Ex.
         8 (McElhone 2014 Deposition) at 223:11–22.] This was because it is a “grossly improper
         violation of policy and procedure” for detectives to feed details they believe about a
         crime rather than eliciting details from a suspect. [Pl.’s Ex. 8 (McElhone 2014
         Deposition) at 223:23–224:17.] Lieutenant McElhone would have made it clear to SCPD
         Homicide Squad detectives, including Detective McCready, that he was not going to
         tolerate any violation of rules, including when it came to getting confessions, and that
         violations would subject them to “very serious discipline or transfer.” [Pl.’s Ex. 8
         (McElhone 2014 Deposition) at 44:24–45:6, 45:24–46:18.]

   74.   If the detectives fed Marty the details of the “confession,” then the interrogation and
         subsequent reporting of it deviated substantially from minimally accepted police
         practices. The failure to appropriately conduct an interview and interrogation of Marty,
         both by feeding him hold-back facts during the interrogation process, and then actively
         misrepresenting that those facts had originated voluntarily with him, would be an
         egregious deviation from minimally accepted police practices. In addition, such
         misrepresentations would make it impossible for prosecutors and the court to adequately
         analyze the reliability of that statement evidence. [Pl.’s Ex. 1 (Trainum Report) at 29.]




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   As a result of the detectives’ fabrications that Marty had volunteered the details, the
   prosecution’s theory of the case is that Marty’s “confession” is reliable and came entirely
   from Marty.

   75.    Suffolk County ADA Edward Jablonski, the initial carrying prosecutor, testified that his
          knowledge of the murder investigation came from SCPD Homicide Squad detectives
          telling him about the case. [Defs.’ Ex. III (Jablonski Deposition) at 30:3–4.] ADA
          Jablonski “probably” initially learned Marty had made admissions that he was involved
          from Sergeant Doyle, “who [he] talked to most of the time.” [Defs.’ Ex. III (Jablonski
          Deposition) at 95:15–96:5.] However, everything that he knew about Marty’s
          interrogation came from the accounts of Detective McCready and Detective Rein; he
          never interviewed Marty about his perspective of what had happened. [Defs.’ Ex. III
          (Jablonski Deposition) at 36:4–19.]

   76.    ADA Jablonski also believed that the detectives would not have fed Marty information,
          and that they would have “elicited [the details] as opposed to telling him the answers.”
          [Defs.’ Ex. III (Jablonski Deposition) at 42:2–22.] He agreed that Detective McCready’s
          report of the “confession” read as if to indicate that facts were supplied by Marty, not the
          detectives. [Defs.’ Ex. III (Jablonski Deposition) at 65:16–68:9.] He never received any
          indication from Detective McCready or Detective Rein that the report was inaccurate in
          any way, and at all times relied on the accuracy of the report. [Defs.’ Ex. III (Jablonski
          Deposition) at 68:10–17.] He also testified that he would have “been upset if [the
          detectives] were providing those details.” [Defs.’ Ex. III (Jablonski Deposition) at 44:9–
          13.] He could not recall any case where detectives had supplied the details, which would
          have been “counterproductive” and would have stuck out in his mind as highly unusual.
          [Defs.’ Ex. III (Jablonski Deposition) at 47:8–18.]

   77.    Similarly, Suffolk County ADA John Collins, the trial prosecutor, testified that his
          understanding of what had taken place during Marty’s interrogation came from Detective
          McCready and Detective Rein. [Defs.’ Ex. HHH (Collins Deposition) at 51:12–17, 61:3–
          18.] The detectives told him that they asked Marty relatively open-ended questions and
          Marty provided the details about how he had committed the crimes that were in the
          “confession,” for example the detail that Marty had killed his mother first. [Defs.’ Ex.
          HHH (Collins Deposition) at 54:2–6, 60:14–61:2, 61:19–64:10.] ADA Collins testified
          that, if the detectives had “asked leading questions and given Marty information about
          what they knew in order to get him to talk,” he would have expected them to note that for
          him. [Defs.’ Ex. HHH (Collins Deposition) at 67:6–12.]

   78.    As a result, at trial, the prosecution’s theory of the case was that Marty’s “confession”
          was both reliable and had come entirely from Marty. The prosecution argued that Marty’s
          “confession” was reliable because it contained details consistent with how the crime had
          occurred. For example, in his closing argument, ADA Collins argued that the barbells
          from Marty’s bedroom were consistent with Arlene and Seymour’s injuries. [Defs.’ Ex. B
          (TT) (Closing) at 4932:5–7.] ADA Collins also suggested to the jury that Marty’s
          description of inflicting head injuries on Arlene could not have been known by the



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          detectives at the time of the interrogation. [Defs.’ Ex. B (TT) (Closing) at 4936:7–
          4937:21.]

   79.    ADA Collins also emphasized that the “confession” had come entirely from Marty,
          urging the jury to, when considering the voluntariness of Marty’s statements, remember
          “the wealth of information gotten from the defendant that could have come from nothing
          other than a willing and cooperative suspect or subject.” [Defs.’ Ex. B (TT) (Closing) at
          4927:20–4928:1.] Similarly, ADA Collins told the jury that “[t]he detectives reported to
          you (the jury) what was said to them,” and that Marty had “[given] the detectives his
          version of what had, in fact, occurred and what he had, in fact, done to his parents.”
          [Defs.’ Ex. B (TT) (Closing) at 4930:20–22, 4933:6–7.]

          The defense argued at trial that Marty had been coerced into falsely confessing to the
          crime. However, in his closing argument, ADA Collins argued that could not be true
          because the confession included details that Marty had volunteered which corroborated
          his guilty knowledge: “If they did not get this information from the defendant, then where
          the heck did it come from? And if they did make it up, then they’re two or three of the
          luckiest sons of guns that ever walked because they came up with consistent weapons,
          they came up with head injuries to Arlene Tankleff they didn’t know about, they came up
          with transfers of hair that they couldn’t possibly have known about at that point in time.”
          [Defs.’ Ex. B (TT) (Closing) at 4934:5–14.]

   However, a variety of forensic and medical evidence disproves many of the details in Marty’s
   “confession.”

   80.    In the weeks after conducting Marty’s “confession,” SCPD Homicide Squad detectives
          began receiving the results from forensic and medical testing. [Pl.’s Ex. 1 (Trainum
          Report) at 31; Pl.’s Ex. 12 (Baumann Deposition) at 233:18–234:2; Defs.’ Ex. XX (Rein
          Deposition) at 196:25–197:4.] Detective Rein testified that it would have been important
          to corroborate Marty’s “confession” with forensic and medical test results. [Defs.’ Ex.
          XX (Rein Deposition) at 271:8–24.] Not only did this evidence by and large fail to
          corroborate the details of Marty’s “confession,” it in fact disproved the detectives’ early
          theory of the crime, and many of the details that Marty had supposedly volunteered to the
          detectives.

   81.    The detail in Marty’s “confession” that he killed his mother first was false. Bloodstains
          on the wall of the master bedroom and on the bed sheets were determined to be consistent
          with Seymour’s blood. No forensic evidence from Arlene was identified or recovered
          from the office. Plaintiff’s crime scene reconstruction expert, Timothy M. Palmbach,
          determined that, “[t]o a reasonable degree of scientific certainty, the cross-transfer of
          evidence from the office crime scene to the master bedroom, and corresponding lack of
          cross-transfer from the master bedroom crime scene to the office, indicate that the attack
          in the office on Seymour Tankleff occurred before the attack on Arlene Tankleff,” in
          contrast to Marty’s “confession.” [Pl.’s Ex. 10 (Palmbach Report) at 7–8, 10, 12; see also
          Pl.’s Ex. 1 (Trainum Report) at 32.] Suffolk County serologist Robert Baumann agreed
          that, absent an innocent explanation for the presence of Seymour’s blood on the wall and

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         sheet in the bedroom, the forensic evidence indicated Seymour was attacked before
         Arlene, and that Seymour’s blood ended up in the master bedroom because it was
         transported in on either a weapon or a body part. [Pl.’s Ex. 12 (Baumann Deposition) at
         227:13–230:24.]

   82.   The details in Marty’s “confession” that Arlene had “fought” with him during the attack
         and that she was still moving when he left the room to get the knife were false. Plaintiff’s
         expert Dr. Michael M. Baden, forensic pathologist and former Chief Medical Examiner
         of New York City, determined that Arlene “immediately lost consciousness when first
         struck by the hammer; there was no evidence at the scene or in the autopsy that she
         struggled or was able to struggle.” Dr. Baden also noted that the lacerations on Arlene’s
         head indicated that she was not moving while she was being struck, and there is no
         evidence that she made any voluntary movements after the first blow to the head or that
         she attempted to defend herself. [Defs.’ Ex. NNN (Baden Report) at 3, 5–6.] Palmbach
         also concluded that the evidence indicated to a reasonable degree of scientific certainty
         that Arlene did not move after she was first attacked on the bed, in direct contrast to
         Marty’s “confession.” [Pl.’s Ex. 10 (Palmbach Report) at 12–13.]

   83.   The detail in Marty’s “confession” that he had stabbed his parents with the watermelon
         knife was false. The medical examiner who conducted the autopsies on both Arlene and
         Seymour examined the watermelon knife and concluded that there was no reasonable
         possibility that it was the murder weapon, and that the weapon was likely a utility knife.
         [See ¶¶ 93–127, infra; see also Pl.’s Ex. 1 (Trainum Report) at 31–32.] Similarly, Dr.
         Baden’s review of the wound patterns on Arlene’s body and the blood patterns in the
         bedroom led him to conclude that her wounds were not consistent with the watermelon
         knife. [Defs.’ Ex. NNN (Baden Report) at 3–6.] In addition, no serological or other
         physiological evidence was identified on the watermelon knife, and Palmbach concluded
         to a reasonable degree of scientific certainty that the lack of forensic evidence on the
         watermelon knife was inconsistent with Marty’s “confession.” [Pl.’s Ex. 10 (Palmbach
         Report) at 12; Pl.’s Ex. 12 (Baumann Deposition) at 144:3–11; see also Pl.’s Ex. 1
         (Trainum Report) at 32.]

   84.   The detail in Marty’s “confession” that he had bludgeoned his parents with one of the
         barbells in plain view in his bedroom was false. There were eleven approximately-one-
         inch-long lacerations on Arlene’s head with underlying smaller depressed circular skull
         fractures, typical for impacts by a hammer and not consistent with the much larger-faced
         barbell. Similarly, Seymour had healing scalp lacerations, depressed skull fractures, and
         lacerations and contusions of the brain consistent with being caused by a hammer, not by
         a barbell. Based on his review of the autopsy findings, Dr. Baden observed that the blunt
         force head injuries to Seymour and Arlene “were not caused by the barbell as stated in
         the confession—the scalp lacerations and circular depressed skull fractures are too small
         to be caused by the barbell—but are typical for hammer strikes.” As a result, Dr. Baden
         concluded, to a reasonable degree of medical certainty, that Marty’s “confession” was not
         consistent with the autopsy and forensic findings. [Defs.’ Ex. NNN (Baden Report) at 2–
         5.] In addition, no serological or other physiological evidence was identified on the
         barbells. Baumann tested the barbells for the presence of blood thoroughly and

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         completely—including by disassembling them, using a stereo microscope, and examining
         the screws, bolts, and bolt holes—and found no blood anywhere. [Pl.’s Ex. 12 (Baumann
         Deposition) at 165:7–167:9.] Palmbach also concluded to a reasonable degree of
         scientific certainty that the lack of forensic evidence on the barbells was inconsistent with
         Marty’s “confession.” [Pl.’s Ex. 10 (Palmbach Report) at 6, 12–13; see also Pl.’s Ex. 1
         (Trainum Report) at 32.]

   85.   The detail in Marty’s “confession” that he was standing behind his father when he hit him
         with the barbell was false. The bloodstain patterns on the desk, wall, and ceiling in the
         office—in conjunction with the narrowness of the space behind Seymour’s chair—
         indicated that Seymour was attacked by an assailant who was standing to his side or in
         front of him. [Pl.’s Ex. 10 (Palmbach Report) at 7, 10–11.]

   86.   The detail in Marty’s “confession” that he showered after the murders to clean himself
         and the weapons was false. Water was collected from the drain traps of all of the sinks,
         bathtubs, and showers in the Tankleffs’ home, and no blood or human tissue was
         identified. [Pl.’s Ex. 10 (Palmbach Report) at 7; Pl.’s Ex. 12 (Baumann Deposition) at
         173:4–175:19; see also Pl.’s Ex. 1 (Trainum Report) at 31.]

   87.   In addition, the fact that Marty’s “confession” made no mention of a second perpetrator
         was incorrect. Palmbach determined—based on analysis of blood transfer/contact patters,
         blood spatter, and cuts on the desk chair—that Seymour was bludgeoned and stabbed
         contemporaneously, while seated at his desk. Thus, Palmbach concluded that the assault
         on Seymour was consistent with having been conducted by more than one assailant. [Pl.’s
         Ex. 10 (Palmbach Report) at 11.] Palmbach also concluded that, based on evidence of
         where Arlene was lying and how she was attacked, that the attack on Arlene was also
         most likely committed by two assailants, and not one. [Pl.’s Ex. 10 (Palmbach Report) at
         12.]

   88.   Similarly, the fact that Marty’s “confession” made no mention of the fact that the
         perpetrator wore gloves was incorrect. To a reasonable degree of scientific certainty,
         Palmbach concluded that a number of the transfer patterns and bloodstains on the
         bedclothes from the master bedroom were consistent with having been made by gloves.
         This also provided support for the two-perpetrator conclusion. [Pl.’s Ex. 10 (Palmbach
         Report) at 9, 12; see also Trainum Report at 32.]

   89.   Detective Rein acknowledged that the barbells in Marty’s room tested negative for blood
         and human tissue, that forensic testing was negative for blood or human tissue in drain in
         Marty’s shower, and that the evidence indicated that Seymour was attacked first. [Defs.’
         Ex. XX (Rein Deposition) at 196:13–17, 206:21–25, 212:20–213:4.] Detective Rein also
         testified that, within a couple of days to a week after the murders, he came to the
         conclusion that Seymour was attacked before Arlene, contrary to the confession, but he
         could not recall at his deposition what had caused him to reach that conclusion. [Defs.’
         Ex. XX (Rein Deposition) at 206:16–208:13.] It also became clear to the detectives—
         after Marty’s false “confession”—that the watermelon knife could not have been the
         murder weapon. [See ¶¶ 93–127, infra; Defs.’ Ex. YY (Doyle Deposition) at 297:16–

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          298:9, 303:5–21, 304:7–8, 317:14–318:25; Defs.’ Ex. XX (Rein Deposition) at 197:11–
          198:4.]

   90.    A reasonable and experienced homicide detective, following minimally accepted police
          practices, would have used these forensic and medical conclusions to evaluate their
          theory of the case. [Pl.’s Ex. 12 (Baumann Deposition) at 284:9–286:3.] The total lack of
          corroboration of the details in Marty’s “confession” would have suggested that the
          detectives needed to re-evaluate the evidence of Marty’s guilt. A legitimate explanation
          for such a lack of corroboration would be that Marty’s “confession” was false, and that he
          was innocent. A legitimate explanation for the lack of corroboration would not simply be
          that the confessing suspect had lied about all of the details, except his “I did it”
          admission. [Pl.’s Ex. 1 (Trainum Report) at 31–33.] Given Detective McCready’s and
          Detective Rein’s training and knowledge about the necessity of corroboration and the
          investigative risk of false or contaminated statements, these forensic results should have
          raised serious red flags with the investigators about the statement they had obtained. A
          reasonable and experienced homicide detective would regard a confession with almost
          entirely false facts—which comport with the original, but disproven, police theory of the
          crime—as evidence of innocence. [Pl.’s Ex. 1 (Trainum Report) at 38–39.]

   Detective McCready never orders a reconstruction of the bedroom, where the forensic
   evidence contradicted the confession, despite the fact that one was performed in Seymour’s
   office.

   91.    Forensic testing on evidence from the crime scene showed that the account of Arlene’s
          murder contained in the “confession” was contradicted in several key ways. [See ¶¶ 82–
          85, supra.] A basic principle of crime scene analysis is that when forensic results come in
          that contradict the working hypothesis or theory of a case, it is important to re-evaluate
          that hypothesis based on the new results. [Pl.’s Ex. 12 (Baumann Deposition) at 105:5–
          16.] SCPD Detective Charles Kosciuk, working as a team with the SCPD Homicide
          Squad detectives at the crime scene, conducted a crime scene reconstruction based on the
          forensic evidence gathered from Seymour’s office. [Pl.’s Ex. 49 (Kosciuk Deposition) at
          33:3–19, 37:5–18, 44:24–47:10, 101:4–03:25.] According to Detective Kosciuk, the
          purpose of such a reconstruction was to take a hypothesis and see if it could be refuted or
          confirmed by the forensic evidence. [Pl.’s Ex. 49 (Kosciuk Deposition) at 31:14–32:2.]

   92.    Although Detective Kosciuk conducted such a reconstruction based on the evidence
          found in the office where Seymour was murdered, and although Detective Rein testified
          that the order of the murders was “something we wanted to know,” no homicide detective
          ever asked Detective Kosciuk or Baumann to do a reconstruction of the master bedroom
          where Arlene was murdered. [Pl.’s Ex. 49 (Kosciuk Deposition) at 103:13–21; Defs.’ Ex.
          XX (Rein Deposition) at 207:19–23; Pl.’s Ex. 12 (Baumann Deposition) at 280:5–9.] The
          decision whether or not to conduct a reconstruction was Detective McCready’s. [Pl.’s Ex.
          12 (Baumann Deposition) at 286:4–24.]




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         HOMICIDE SQUAD DETECTIVES SUPPRESS THE MEDICAL EXAMINER’S
         CONCLUSION THAT THE WATERMELON KNIFE WAS NOT THE MURDER
                                 WEAPON

   Dr. Adams conducts the autopsies of Arlene and Seymour, with an SCPD Homicide Squad
   detective present.

   93.     Suffolk County Medical Examiner Dr. Vernard Adams conducted the autopsies of both
           Arlene and Seymour. [Defs.’ Ex. B (TT) (Vernard Adams) at 3945:4–8, 3993:10–13.] Dr.
           Adams testified that “it would [be] usual and customary in Suffolk County” for the
           homicide detectives working on the case to attend the autopsies, and that it was not
           unusual for them to take notes. [Defs.’ Ex. BBB (Adams Deposition) at 40:22–41:8,
           42:22–43:9; 54:18–55:1; 189:2–6, 189:21–190:7.]

   94.     Lieutenant McElhone agreed that an SCPD detective would have “covered” the
           autopsies, and that it was important for a detective to be present because a detective, and
           not the medical examiner, would know whether information that came out during the
           autopsy contradicted the working theory of the homicide case. [Pl.’s Ex. 8 (McElhone
           2014 Deposition) at 91:20–92:24, 93:9–13, 97:21–98:7.]

   95.     ADA Collins also testified that it was the practice of the SCPD to attend autopsies, and
           they would “generally assign a detective, if not more than one, to attend the autopsy,”
           where “most of the time,” they would take notes. [Defs.’ Ex. HHH (Collins Deposition)
           at 97:23–98:7.] And ADA Jablonski testified that “a lot of times” a detective was present
           and that it was desirable to have the homicide detective at the autopsy in case there were
           “questions that they might have on the case that they’ve learned so far that maybe the
           doctor could answer during the autopsy.” [Defs.’ Ex. III (Jablonski Deposition) at 51:16–
           24, 164:14–21.]

   Dr. Adams examines the watermelon knife and concludes that there is no reasonable
   possibility that it was the murder weapon.

   96.     While conducting Arlene’s autopsy on September 8, the day after the attacks, Dr. Adams
           noted a series of four sharp-force wounds on her back, each consisting of a “slash with a
           corresponding dimple.” [Pl.’s Ex. 1 (Trainum Report at 37); see also Pl.’s Ex. 13 (Arlene
           Autopsy Diagram) at 5–11; Pl.’s Ex. 14 (Arlene Autopsy Back View Photograph).] Dr.
           Adams sketched the distinctive pattern of these wounds, and also sketched a picture of
           the type of knife he believed would have caused them. [Pl.’s Ex. 13 (Arlene Autopsy
           Diagram) at 11.] Dr. Adams testified at his deposition that this drawing of a knife with a
           “projection at the hilt” was meant to represent “what a knife might look like that could
           cause these kinds of injuries with the small abrasion at the site of the stab wound or cut.”
           [Defs.’ Ex. BBB (Adams Deposition) at 185:13–22.] He also testified that, if he were to
           draw it again, he even “would make the blade shorter.” [Defs.’ Ex. BBB (Adams
           Deposition) at 185:20–22; see also Pl.’s Ex. 13 (Arlene Autopsy Diagram) at 11.]




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   97.    In addition to conducting the autopsies, Dr. Adams was given the watermelon knife to
          examine and compare to the wounds—that is, the knife that the detectives had seen at the
          crime scene and suspected was the murder weapon, and which was identified as the
          murder weapon in the confession they subsequently took from Marty. [Pl.’s Ex. 1
          (Trainum Report) at 31–32; Defs.’ Ex. B (TT) (Vernard Adams) at 3954:5–16; Defs.’ Ex.
          BBB (Adams Deposition) at 69:22–70:21, 180:8–15; Pl.’s Ex. 15 (Watermelon Knife
          Photograph); Pl.’s Ex. 16 (Skull and Barbell Photograph).]

   98.    At his deposition, when reviewing his notes from Arlene’s autopsy, Dr. Adams testified
          that there was no “reasonable possibility” that the watermelon knife was the murder
          weapon. [Defs.’ Ex. BBB (Adams Deposition) at 191:22–192:8; 192:22–193:21.] In other
          words, Dr. Adams excluded the watermelon knife as the murder weapon. He further
          testified that, “[a]n assailant with that knife should have been penetrating body cavities.”
          [Defs.’ Ex. BBB (Adams Deposition) at 192:6–8.] He also testified that, “if [he] had to
          pick the perfect knife to make these wounds, [he] would pick a utility knife.” [Pl.’s Ex. 1
          (Trainum Report) at 38; Defs.’ Ex. BBB (Adams Deposition) at 188:14–22.]

   99.    Dr. Baden agreed that the watermelon knife could not have caused the wounds on
          Arlene’s back. [Defs.’ Ex. NNN (Baden Report) at 6.] Like Dr. Adams, Dr. Baden found
          that, “[t]he knife wounds are not consistent with having been inflicted by the blade of the
          initially suspected watermelon knife.” [Defs.’ Ex. NNN (Baden Report) at 4.]

   100.   In addition, on September 19, Baumann completed serological testing on the watermelon
          knife and found no serological evidence on the watermelon knife. [Pl.’s Ex. 1 (Trainum
          Report) at 32; Defs.’ Ex. BB (TT) (Robert Baumann) at 2235:23–2238:4.] Based on this
          finding, Palmbach concluded that the evidence indicated to a reasonable degree of
          scientific certainty that the watermelon knife was not the instrument used to attack Arlene
          or Seymour. [Pl.’s Ex. 10 (Palmbach Report) at 12–13.]

   Dr. Adams shares his conclusion regarding the watermelon knife with a SCPD Homicide
   Squad detective—most likely Detective Rein—who takes notes.

   101.   Dr. Adams was clear that, while he could not remember the exact conversation or words,
          he would have told detectives at the time of the autopsies of this conclusion: that there
          was no “reasonable possibility” that the watermelon knife was the murder weapon, and
          that it was “clearly not a reasonable weapon for the sharp-force wounds.” [Defs.’ Ex.
          BBB (Adams Deposition) at 192:22–193:21, 215:11–13; Pl.’s Ex. 1 (Trainum Report) at
          38.] Dr. Adams clarified that he understood the word ‘consistent’ to be equivalent to
          establishing a reasonable possibility, and the phrase ‘no reasonable possibility’ to be
          equivalent to beyond a reasonable doubt. [Defs.’ Ex. BBB (Adams Deposition) at 14:14–
          15:14; 145:23–24.] Dr. Adams testified that, while he couldn’t remember his exact
          words, he “must have communicated” this opinion to SCPD Homicide Squad detectives.
          [Defs.’ Ex. BBB (Adams Deposition) at 191:12–21; see generally, 187:20–193:21.] He
          also agreed that, ordinarily, he would be asked by detectives whether his autopsy findings
          were consistent with a particular knife, or if they excluded or confirmed that weapon.
          [Defs.’ Ex. BBB (Adams Deposition) at 180:16–181:3.]

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   102.   Despite the general practice of the SCPD Homicide Squad to have a detective present at
          autopsies, and the significance of this case, no detectives admit to being at Arlene’s
          autopsy. Detective McCready denied being present at either autopsy. [Defs.’ Ex. FFF
          (McCready Affidavit) at 2.] At his deposition, Sergeant Doyle admitted that he “would
          have to think” he was at Arlene’s autopsy, but in a later affidavit, denied being present at
          Seymour’s autopsy and does not recall if he was present at Arlene’s autopsy, but
          admitted that he was at the Medical Examiner’s Office on the day of her autopsy. [Defs.’
          Ex. YY (Doyle Deposition) at 260:16–19; Defs.’ Ex. DDD (Doyle Affidavit) at 2.]
          Detective Carmody, who also worked on the Tankleff case, denied being present at either
          autopsy, but admitted having a conversation with Dr. Adams at the Medical Examiner’s
          Office the day after Arlene’s autopsy. [Defs.’ Ex. CCC (Carmody Affidavit) at 2.]
          Detective Kosciuk denied being present at Arlene’s autopsy and claims he does not recall
          if he was present at Seymour’s autopsy, but admitted that he was at the Medical
          Examiner’s Office on the day of his autopsy. [Defs.’ Ex. EEE (Kosciuk Affidavit) at 2.]
          Finally, Detective Rein denied being present at Arlene’s autopsy but admitted that he was
          at Seymour’s. [Defs.’ Ex. GGG (Rein Affidavit) at 2.]

   103.   However, a handwritten page of police notes independently documents Dr. Adams’
          wound measurements from Arlene’s autopsy, including the four dimple-and-slash
          wounds, and includes a drawing of what appears to be a utility-type knife. [Pl.’s Ex. 1
          (Trainum Report) at 37; Pl.’s Ex. 17 (Seymour Autopsy Diagram) at 5.] This page of
          notes, accompanied an autopsy diagram in handwriting identified by ADA Collins as
          being Detective Rein’s. [Defs.’ Ex. HHH (Collins Deposition) at 96:25–97:14; see also
          Pl.’s Ex. 17 (Seymour Autopsy Diagram) at 1.] ADA Collins was familiar with
          handwriting he’d seen over the years, and thought he recognized Detective Rein’s
          handwriting even before seeing his signature. [Defs.’ Ex. HHH (Collins Deposition) at
          91:13–14, 98:21–99:2.]

   104.   Dr. Adams testified when shown these notes that it did not look like his handwriting, but
          rather looked like it was drawn by “someone who was at the autopsy and making a
          diagram of their own at the same time I was making my notes” and that it “could be the
          diagram of a detective attending the autopsy,” who was “writing down measurements as I
          called them out and wrote them down myself.” [Defs.’ Ex. BBB (Adams Deposition) at
          49:3–50:10, 189:2–6, 189:21–190:7; compare Pl.’s Ex. 13 (Arlene Autopsy Diagram) at
          11 with Pl.’s Ex. 17 (Seymour Autopsy Diagram) at 5.]

   105.   Dr. Adams also testified that the numbers corresponding to the depths of Arlene’s
          wounds on the police-authored notes matched those on Dr. Adams’ own diagram. [Defs.’
          Ex. BBB (Adams Deposition) at 189:18–20; compare Pl.’s Ex. 13 (Arlene Autopsy
          Diagram) at 11 with Pl.’s Ex. 17 (Seymour Autopsy Diagram) at 5.] Dr. Adams explained
          that the detective’s drawing of the knife “has a little end to it at the hilt that would be
          consistent with making those abrasions that you see on the side of each the four stab
          wounds on Arlene Tankleff’s back.” [Defs.’ Ex. BBB (Adams Deposition) at 189:7–15
          (referring to Pl.’s Ex. 17 (Seymour Autopsy Diagram) at 5).]



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   106.   Dr. Adams agreed that it was “fair to say from looking at these diagrams and the analysis
          of the wounds here, that [he] would have been sharing [his opinion that the wounds were
          made by a utility-type knife] with the detectives, at least one of whom appears to have
          been making notations in a diagram.” [Defs.’ Ex. BBB (Adams Deposition) at 191:3–11.]
          Dr. Adams also agreed that, typically, detectives would talk with the medical examiner
          about findings during the autopsy as they were being made. [Defs.’ Ex. BBB (Adams
          Deposition) at 41:9–12.]

   107.   During a homicide investigation, it would have been customary for detectives to share
          information about the case with each other. In particular, Detective McCready, as the lead
          detective on the case, should have been made aware of Dr. Adams’ opinion about the
          watermelon knife by the detective present at the autopsy, and there is no question in
          Lieutenant McElhone’s mind that detectives under his command in the Homicide Squad
          would have done so. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 98:8–18, 100:8–101:6,
          118:24–120:6.] Baumann also testified that all forensic results were being “filed to
          Detective McCready” as the lead detective on the case. [Pl.’s Ex. 12 (Baumann
          Deposition) at 205:14–20.]

   SCPD Homicide Squad detectives know that Dr. Adams’ conclusion regarding the watermelon
   knife was exculpatory information that should have been disclosed.

   108.   A reasonable and experienced homicide detective, following generally accepted police
          practices, would have understood that Dr. Adams’ exclusion of the watermelon knife—
          the confessed-to murder weapon—as the actual murder weapon was exculpatory
          information that needed to be clearly and accurately documented and disclosed to the
          prosecutors on the case. [Pl.’s Ex. 1 (Trainum Report) at 38.] In affidavits submitted in
          support of Defendants’ summary judgment motion, Detective Carmody, Sergeant Doyle,
          Detective Kosciuk, Detective McCready, and Detective Rein each affirmed that, in 1988,
          he was aware of his “obligation under Brady v. Maryland to disclose exculpatory
          material” and that, had he “been told, by any source, that Dr. Adams believed that there
          was no reasonable possibility that the knife recovered from the counter next to the
          watermelon could have been the murder weapon, [he] would have provided this
          information … to the prosecutors in the Suffolk County District Attorney’s Office.”
          [Defs.’ Ex. CCC (Carmody Affidavit) at 3; Defs.’ Ex. DDD (Doyle Affidavit) at 3–4;
          Defs.’ Ex. EEE (Kosciuk Affidavit) at 3; Defs.’ Ex. FFF (McCready Affidavit) at 3;
          Defs.’ Ex. GGG (Rein Affidavit) at 3–4.]

   109.   Lieutenant McElhone also agreed that, if Dr. Adams had concluded that there was no
          reasonable possibility that the watermelon knife was the murder weapon, the detective at
          the autopsy would have had an obligation to bring that information to the prosecutor’s
          attention. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 118:7–18.] This was true because,
          “if [a] medical examiner made findings that contradicted the working theory of the case
          in a homicide investigation, it would be important for the detectives to relay that
          information to the prosecutors right away.” [Pl.’s Ex. 8 (McElhone 2014 Deposition) at
          95:6–20.] This obligation would have been the detective’s, not the medical examiner’s,
          because the detective would be in the better position to know whether information that

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          came out of the autopsy contradicted the working theory of the case. [Pl.’s Ex. 8
          (McElhone 2014 Deposition) at 97:21–98:18, 100:8–101:6.]

   However, SCPD Homicide Squad detectives do not document their knowledge of Dr. Adams’
   conclusion or disclose it to the prosecution or the defense before Marty’s trial.

   110.   Dr. Adams’ conclusions were not documented in any report by Detective Rein, Detective
          McCready, Sergeant Doyle, or any other SCPD Homicide Squad members. [Pl.’s Ex. 1
          (Trainum Report at 37–38); see also Defs.’ Ex. CCC (Carmody Affidavit) at 2–3; Defs.’
          Ex. DDD (Doyle Affidavit) at 2–3; Defs.’ Ex. EEE (Kosciuk Affidavit) at 2–3; Defs.’ Ex.
          FFF (McCready Affidavit) at 2–3; Defs.’ Ex. GGG (Rein Affidavit) at 2–3.]

   111.   Indeed, it was never brought to Lieutenant McElhone’s attention that Dr. Adams believed
          the watermelon knife was not the murder weapon, from any source, nor was he aware at
          the time of any skepticism as to the watermelon knife. [Pl.’s Ex. 8 (McElhone 2014
          Deposition) at 125:8–126:2.]

   112.   Lieutenant McElhone also testified that, if he had known that Dr. Adams made the
          finding that there was no reasonable possibility the watermelon knife was the murder
          weapon, and that detectives under his command had known of that finding and failed to
          alert the prosecution, this “would be very troubling” to him. [Pl.’s Ex. 8 (McElhone 2014
          Deposition) at 122:6–123:14.] Similarly, if Sergeant Doyle had known of Dr. Adams’
          conclusion and didn’t communicate that fact to the prosecutor, he would “absolutely”
          have been concerned. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 140:2–7.] An
          intentional failure to document and disclose such information would be an egregious
          violation of minimally accepted police practices. [Pl.’s Ex. 1 (Trainum Report) at 38.]

   113.   What is more, Lieutenant McElhone testified that if a confession described the use of a
          murder weapon that the medical examiner had said was not the murder weapon, such a
          discrepancy would have been a critically important area to explore. [Pl.’s Ex. 8
          (McElhone 2014 Deposition) at 112:8–20.] Lieutenant McElhone testified that he would
          have immediately investigated how that had happened and would have reviewed all the
          other police work done in connection with the confession. [Pl.’s Ex. 8 (McElhone 2014
          Deposition) at 123:15–124:9.] For example, “[o]ne of the things [he] would look at”
          would be whether Marty had given a false confession. [Pl.’s Ex. 8 (McElhone 2014
          Deposition) at 134:14–135:3.] Lieutenant McElhone also agreed that he would “look at
          everything in the entire case,” including questioning Detective McCready and Detective
          Rein again about how the confession came about. [Pl.’s Ex. 8 (McElhone 2014
          Deposition) at 135:4–136:21, 139:14–25.]

   114.   ADA Jablonski, the initial carrying prosecutor, never learned from Detective Rein, Dr.
          Adams, or any other source of Dr. Adams’ conclusion regarding the watermelon knife at
          any time that he was on the case. [Defs.’ Ex. III (Jablonski Deposition) at 74:5–18,
          166:8–168:16.] In particular, ADA Jablonski denied ever seeing Detective Rein’s
          diagram or notes, denied having knowledge that Dr. Adams thought Arlene’s wounds
          were consistent with a utility knife, denied learning that anything about the autopsy report

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          was inconsistent with the case against Marty or his confession, and denied ever speaking
          to Dr. Adams regarding the murder weapons. [Defs.’ Ex. III (Jablonski Deposition) at
          52:22–54:2, 78:6–11, 164:4–6, 168:17–169:22.] ADA Jablonski would have told ADA
          Collins if he had been aware of any information that the knife was inconsistent with the
          injuries, and, before turning the case over to ADA Collins, affirmed that he was “unaware
          of any information that tends to exculpate the defendant.” [Defs.’ Ex. III (Jablonski
          Deposition) at 70:17–74:3, 160:2–10.]

   115.   Similarly, ADA Collins never learned from Dr. Adams, the police, or anyone else that
          Dr. Adams did not believe the watermelon knife was the murder weapon. [Defs.’ Ex.
          HHH (Collins Deposition) at 88:9–89:21, 90:19–91:3.] ADA Collins testified that, if he
          had learned that Dr. Adams had ruled out the watermelon knife, he would “absolutely”
          have asked him about that at trial, and told defense counsel. [Defs.’ Ex. HHH (Collins
          Deposition) at 89:5–10, 90:5–16.] ADA Collins also testified that he followed the Brady
          rules in his practice as a prosecutor, that he followed his ethical responsibilities while
          prosecuting Marty’s case in particular, and that if he had made a factual assertion to a
          tribunal which he later discovered to be false, he would have corrected that inaccuracy.
          [Defs.’ Ex. HHH (Collins Deposition) at 36:12–16, 40:8–19.]

   116.   Marty’s defense counsel at trial, Robert Gottlieb, was not aware of Dr. Adams’
          conclusion that there was no reasonable possibility that the watermelon knife was the
          murder weapon until reading Dr. Adams’ deposition in this case in preparation for his
          own, in 2015. [Defs.’ Ex. JJJ (Gottlieb Deposition) at 86:14–23.]

   As a result, the criminal jury never learns of Dr. Adams’ opinion that the watermelon knife is
   not the murder weapon

   117.   In his opening statement, ADA Collins told the jury that Dr. Adams would testify that the
          victims’ injuries were “not inconsistent” with having been caused by the watermelon
          knife. [Defs.’ Ex. B (TT) (Opening) at 28:4–9.] ADA Collins made this opening
          statement because he believed that would be the evidence. [Defs.’ Ex. HHH (Collins
          Deposition) at 84:6–85:13.] During his testimony, Dr. Adams testified merely that the
          wounds were “caused by a blade that was sharp.” [Defs.’ Ex. B (TT) (Vernard Adams) at
          3953:24–3954:7; see also Defs.’ Ex. BBB (Adams Deposition) at 174:9–23.] Based on
          the “very basic principle of trial advocacy … that you do not ask a question to which you
          expect to receive an unfavorable answer,” Marty’s defense counsel, Gottlieb, did not ask
          Dr. Adams any additional questions about the likelihood that the watermelon knife was
          the murder weapon. [Pl.’s Ex. 18 (Gottlieb Affidavit) at ¶ 9; Defs.’ Ex. B (TT) (Vernard
          Adams) at 4008:14–4009:6, 4035:12–4036:6.]

   118.   In addition, the prosecution argued that the details in Marty’s confession—which would
          include the fact that the watermelon knife was the murder weapon—were true and
          corroborated the veracity of the confession. [see, e.g., Defs.’ Ex. B (TT) (Closing) at
          4927:20–4928:1, 4930:20–22, 4932:5–7, 4933:21–23.] In particular, in his closing
          argument, ADA Collins argued: “If [the detectives] did not get this information from the
          defendant, then where the heck did it come from? And if they did make it up, then they’re

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          two or three of the luckiest sons of guns that ever walked,” because the details were
          corroborated, including the “consistent weapons.” [Defs.’ Ex. B (TT) (Closing) at
          4934:5–14; see also Defs.’ Ex. HHH (Collins Deposition) at 67:24–68:18.]

   119.   Gottlieb’s strategy at trial was to attack both the reliability of the confession attributed to
          Marty and the integrity of the police investigation. The undisclosed evidence that Dr.
          Adams had excluded the watermelon knife as the murder weapon would have been
          critically important to this defense. First, had he known of this evidence, Gottlieb would
          have spent a significant amount of time bringing out before the jury that the
          government’s own expert had concluded that a critical detail in the confession—one of
          the murder weapons—was false. That this exculpatory evidence came from a government
          witness would have made it uniquely powerful. Second, Gottlieb would have used the
          fact that the police had learned of this exculpatory evidence the day after the murders, yet
          failed to report it, to attack the integrity of the entire police investigation. [Pl.’s Ex. 18
          (Gottlieb Affidavit) at ¶ 5–8.]

   Evidence emerges that several SCPD Homicide Squad detectives did not believe that the
   watermelon knife was the murder weapon at the time of Marty’s trial.

   120.   In their affidavits submitted in support of Defendants’ motion for summary judgment,
          Detective Carmody, Sergeant Doyle, Detective Kosciuk, Detective McCready, and
          Detective Rein all deny learning from either Dr. Adams or another member of the
          Homicide Squad that Dr. Adams believed that there was no reasonable possibility the
          watermelon knife was the murder weapon. [Defs.’ Ex. CCC (Carmody Affidavit) at 2–3;
          Defs.’ Ex. DDD (Doyle Affidavit) at 2–3; Defs.’ Ex. EEE (Kosciuk Affidavit) at 2–3;
          Defs.’ Ex. FFF (McCready Affidavit) at 2–3; Defs.’ Ex. GGG (Rein Affidavit) at 2–3.]

   121.   However, at his deposition in this case, Sergeant Doyle admitted that at the time of the
          autopsy—and not before—he formulated an opinion that the watermelon knife was not
          the murder weapon. [Defs.’ Ex. YY (Doyle Deposition) at 317:14–318:4.] In particular,
          Sergeant Doyle testified that, based on the wound patterns, he believed that the
          watermelon knife was both too large and too sharp to be the murder weapon, because “it
          would have had to be a very sharp knife, almost like a razor blade knife, to do that much
          damage that quickly. And I think the knife by the watermelon is too large for that and I
          think we would have had a larger wound.” [Defs.’ Ex. YY (Doyle Deposition) at 298:16–
          299:9, 303:5–21, 304:7–8.]

   122.   Sergeant Doyle also admitted that he “probably” told “every detective in the team and
          Detective McCready and Detective Rein” that he did not believe the watermelon knife
          was the murder weapon. [Defs.’ Ex. YY (Doyle Deposition) at 300:14–21.] This
          conversation likely happened “in the totality of all the information that we received after
          the autopsy.” [Defs.’ Ex. YY (Doyle Deposition) at 318:12–25.] In any case, Sergeant
          Doyle agreed that he had not shared his opinion that the watermelon knife was not the
          murder weapon before detectives began interrogating Marty. [Defs.’ Ex. YY (Doyle
          Deposition) at 318:5–11.] Similarly, Detective Rein testified that he also came to the
          conclusion that the watermelon knife was the wrong kind of knife to be the murder

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          weapon—sometime on or after the evening of September 8—and that he shared his
          conclusion with Sergeant Doyle. [Defs.’ Ex. XX (Rein Deposition) at 197:11–198:4.]

   123.   Detective Carmody’s handwritten notes, which indicated that they were from a meeting
          with Dr. Adams on September 9, the day after Arlene’s autopsy, contain the words “clear
          knife issue.” [Pl.’s Ex. 19 (Carmody Handwritten Notes) at 26; Defs.’ Ex. BBB (Adams
          Deposition) at 192:9–21.] Detective Carmody denied at his deposition having any
          recollection as to what he would have meant by those words, and claimed he did not
          remember “one way or the other having a meeting with a Dr. Adams on [September 9].”
          [Pl.’s Ex. 20 (Carmody Deposition) at 68:11–69:11.] However, in an affidavit submitted
          in support of Defendants’ motion for summary judgment, Detective Carmody admitted
          meeting with Dr. Adams on that date “regarding a knife wound.” [Defs.’ Ex. CCC
          (Carmody Affidavit) at 2.] Although he denied any specific recollection of his
          conversation with Dr. Adams, he claimed he is certain he was never told by Dr. Adams or
          anyone else that there was no reasonable possibility the watermelon knife was the murder
          weapon. [Defs.’ Ex. CCC (Carmody Affidavit) at 2–3.]

   124.   In 2008, after Marty’s conviction had been vacated, the SIC re-investigated the Tankleff
          murders. [Defs.’ Ex. SS (2008 SIC Report) at 1.] During the course of the SIC’s
          investigation, several SCPD detectives and officers who had been involved in the original
          investigation were interviewed, and reports were prepared by special agents. [Pl.’s Ex. 21
          (Kosciuk SIC Interview Report) at 1–5; Pl.’s Ex. 22 (Pfalzgraf SIC Interview Report) at
          1–5; Pl.’s Ex. 23 (Doyle SIC Interview Report) at 1–7.]

   125.   In his SIC interview, Detective Kosciuk said “he did not believe that a knife recovered on
          the kitchen table was used to cause Seymour’s injuries” and that it was his “‘gut feeling,’
          after reviewing Seymour’s x-rays, that a ‘utility type knife’ was used to cause his
          wounds.” [Pl.’s Ex. 21 (Kosciuk SIC Interview Report) at 3.] This opinion was based “on
          the type of wounds which were long, thin, narrow slashes that he believes were likely
          caused by a razor-like blade.” [Pl.’s Ex. 21 (Kosciuk SIC Interview Report) at 3.]
          “Additionally, while he was at the morgue, Detective Kosciuk observed small marks
          (dots) at the start of Seymour’s slash wounds that appeared to him to be indicative of
          marks that could have been left by the handle of a utility-type knife.” [Pl.’s Ex. 21
          (Kosciuk SIC Interview Report) at 3.] Detective Kosciuk also stated that he “may have
          discussed this matter with the Medical Examiner.” [Pl.’s Ex. 21 (Kosciuk SIC Interview
          Report) at 3.]

   126.   In his SIC interview, Detective Pfalzgraf, who was with Seymour at the hospital, stated
          that he was “of the opinion that the cutting instrument used to slash Arlene and Seymour
          was never recovered.” [Pl.’s Ex. 22 (Pfalzgraf SIC Interview Report) at 4.] He also told
          the SIC that he “saw Arlene Tankleff’s body at the scene or viewed photos of her body
          and recalls that her wounds appeared to be cuts from a very sharp knife like an Exacto
          knife or razor knife, such as one uses to make fine cuts on wallpaper.” [Pl.’s Ex. 22
          (Pfalzgraf SIC Interview Report) at 4.]




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   127.   In his SIC interview, Sergeant Doyle “stated that he felt that some sort of knife and
          bludgeon were used to inflict the injuries to the victims,” but that he “did not believe that
          a knife, recovered on a kitchen counter next to a watermelon, was used to inflict the
          injuries and that a smaller knife, possibly a utility knife, might have been used.” [Pl.’s Ex.
          23 (Doyle SIC Interview Report) at 5.] Sergeant Doyle “based his belief on the
          compression level of the wounds,” and further “stated that the police were ‘stuck’ with
          the type of knife described by Tankleff in his confession.” [Pl.’s Ex. 23 (Doyle SIC
          Interview Report) at 5.] When asked about this interview at his deposition, while
          admitting that the rest of it was accurate, Sergeant Doyle claimed that the word “stuck”
          was a mischaracterization. [Defs.’ Ex. YY (Doyle Deposition) at 304:21–306:11.]

          THE SCPD HOMICIDE SQUAD FAILS TO INVESTIGATE AN OBVIOUS
                    ALTERNATE SUSPECT, JERRY STEUERMAN

   From the moment first responders arrive on the scene, Marty and several other people tell
   SCPD Homicide Squad detectives that Steuerman was the person most likely to have been
   behind the murders.

   128.   From the moment first responders arrived on the scene, Marty and others in and close to
          the Tankleff family insisted to SCPD Homicide Squad detectives that Jerry Steuerman,
          Seymour’s business partner, was the person most likely to have been behind the murders.
          [Pl.’s Ex. 11 (Crayne Report) at 1.] Marty told first responders at the scene that “the only
          person who had the motive to do this was Jerry Steuerman,” and that Arlene had told him
          two weeks earlier that she thought Steuerman would “do something terrible.” [Defs.’ Ex.
          B (TT) (Daniel Gallagher) at 275:17–21; Defs.’ Ex. B (TT) (Donald Hines) 505:15–23;
          see also Pl.’s Ex. 11 (Crayne Report) at 1; Pl.’s Ex. 1 (Trainum Report) at 18; Pl.’s Ex.
          24 (Steuerman Missing Person Report) at 3, 7.] Marty also told Detective McCready at
          the scene that he believed Steuerman had killed his parents. [Pl.’s Ex. 9 (McCready
          Deposition) at 165:25–166:13; Defs.’ Ex. C (McCready Supp. Report) at 2.] Before
          taking Marty to SCPD Homicide Squad Headquarters, Detective McCready discussed the
          fact that Marty told him Steuerman did it with Detective Rein and Sergeant Doyle.
          [Defs.’ Ex. XX (Rein Deposition) at 90:12–91:5.]

   129.   Marty was not the only person to immediately indicate to SCPD Homicide Squad
          detectives that Steuerman could have been responsible for the murders. [Defs.’ Ex. B
          (TT) (Closing) at 4858:24–4859:11; Pl.’s Ex. 8 (McElhone 2014 Deposition) at 154:9–
          16; Pl.’s Ex. 9 (McCready Deposition) at 160:3–16, 166:14–25.] On September 7,
          Detective Pfalzgraf interviewed Ron Rother, Marty’s brother-in-law, at the hospital
          where Seymour was being treated. Detective Pfalzgraf’s handwritten notes of the
          interview indicate that Mr. Rother told Detective Pfalzgraf that Steuerman had threatened
          Seymour several weeks earlier. [Pl.’s Ex. 25 (Pfalzgraf Handwritten Notes) at 3; Pl.’s Ex.
          1 (Trainum Report) at 35–36; Pl.’s Ex. 9 (McCready Deposition) at 160:6–7, 166:14–25;
          Defs.’ Ex. YY (Doyle Deposition) at 320:24–321:18.] Sergeant Doyle—who Detective
          Pfalzgraf—agreed that such a threat was an important fact that he would expect to find in
          Detective Pfalzgraf’s documentation of the interview. [Defs.’ Ex. YY (Doyle Deposition)
          at 131:4–133:18; Defs.’ Ex. B (TT) (Robert Doyle) at 2604:5–15.] However, despite

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          being in Detective Pfalzgraf’s handwritten notes, this information is not in his
          supplementary report of his interview with Mr. Rother. [Defs.’ Ex. YY (Doyle
          Deposition) at 134:23–136:16; Pl.’s Ex. 1 (Trainum Report) at 36; Pl.’s Ex. 26 (Pfalzgraf
          Report) at 1–2.]

   130.   Myron Fox a.k.a. “Uncle Mike,” the Tankleff family’s attorney, was also interviewed at
          the hospital on September 7. Handwritten notes discussing this interview reflect that Mr.
          Fox stated that there was “bad blood between Steuerman and Seymour.” [Pl.’s Ex. 1
          (Trainum Report) at 36; Pl.’s Ex. 19 (Carmody Handwritten Notes) at 15; Defs.’ Ex. YY
          (Doyle Deposition) at 147:4–148:10, 319:2–320:13; Pl.’s Ex. 9 (McCready Deposition)
          at 160:12–16, 166:17–19.] Sergeant Doyle testified that Mr. Fox and Marty had not
          spoken at the crime scene, and that thus, Mr. Fox’s opinion was independent from
          Marty’s opinion that Steuerman must have been involved. [Defs.’ Ex. YY (Doyle
          Deposition) at 320:14–23.] However, once again, this information was not included in the
          supplementary report prepared regarding the interview with Mr. Fox. [Pl.’s Ex. 1
          (Trainum Report) at 36; Pl.’s Ex. 26 (Pfalzgraf Report) at 1–2.]

   131.   Ron Falbee, a cousin of Marty’s who was named executor of Seymour and Arlene’s
          estate and Marty’s guardian, testified that he also told at least one detective at the hospital
          that he believed Steuerman was responsible for the murders. [Pl.’s Ex. 27 (440 Hearing
          Excerpt) at 161:24–162:24.] Arlene had previously told Falbee that Steuerman had
          threatened her and Seymour. [Pl.’s Ex. 27 (440 Hearing Excerpt) at 149:24–150:7.]

   Witnesses indicate that Steuerman had been the last person to leave the Tankleffs’ home after
   a card game, just hours before the murders.

   132.   On the night of September 6, and continuing into the early hours of September 7, just
          hours before the murders, Seymour had hosted a weekly card game at his home.
          Steuerman was one of the participants in the card game present in the Tankleffs’ home
          that night. [Pl.’s Ex. 1 (Trainum Report) at 35; Pl.’s Ex. 24 (Steuerman Missing Person
          Report) at 3.] Steuerman told SCPD Homicide Squad detectives that he had left the card
          game between 2:30 and 3:00 a.m., at the same time as all of the other remaining card
          players. [Defs.’ Ex. W (Rein Supp. Report) at 1.]

   133.   However, detectives learned early on in their investigation that Steuerman had lied to
          them about when he left the card game. In fact, the SCPD Homicide Squad’s
          investigation revealed that Steuerman was the last of the card players to leave the
          Tankleffs’ home in the early hours of September 7. For example, Robert Montefusco, one
          of the card players, reported to detectives on September 7 that, after the card players left
          the house together, Steuerman went back inside the house to speak to Seymour, and Mr.
          Montefusco never saw Steuerman leave. [Pl.’s Ex. 28 (Anderson Notes) at 1–2.] At
          approximately 3:00 a.m., although the other card players all went to their cars and drove
          away, no one saw Steuerman drive away. [Pl.’s Ex. 1 (Trainum Report) at 35; Defs.’ Ex.
          B (TT) (Closing) at 4859:16–17.]




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   134.   Mr. Montefusco testified that, after the card game broke up around 3:00 a.m., everyone
          left the house except for himself, Seymour, and Steuerman. Mr. Montefusco also had
          begun to leave, but turned around to come back and speak to Seymour. However, when
          Mr. Montefusco got back to the room where the card game had been held, he saw
          Steuerman speaking to Seymour. The conversation appeared private, so Mr. Montefusco
          left. [Defs.’ Ex. B (TT) (Robert Montefusco) at 663:4–666:13; Defs.’ Ex. B (TT)
          (Closing) at 4859:21–25; see also Defs.’ Ex. XX (Rein Deposition) at 243:8–245:24;
          Defs.’ Ex. YY (Doyle Deposition) at 154:25–14, 326:3–5; Pl.’s Ex. 9 (McCready
          Deposition) at 160:17–23.]

   135.   Similarly, Joseph Cecere, another one of the card players, testified that his car was parked
          farthest up the driveway of all the players, such that he had to wait for other cars to leave
          before he was able to pull his own car out. Mr. Cecere testified that, as he prepared to
          leave, Steuerman’s car was parked next to his, and that he observed Steuerman sitting in
          the driver’s seat of his car. However, instead of pulling out, Steuerman waved to Mr.
          Cecere to drive around him. Thus, when Mr. Cecere drove away, sometime after 3:00
          a.m., Steuerman was still sitting in his car in the driveway. Mr. Cecere did not see
          Steuerman follow him out of the driveway, and never saw any headlights on any car
          behind him as he drove away. [Defs.’ Ex. B (TT) (Joseph Cecere) at 710:15–713:25;
          Defs.’ Ex. B (TT) (Closing) 4860:1–4860:9; see also Defs.’ Ex. XX (Rein Deposition) at
          240:11–242:9; Defs.’ Ex. YY (Doyle Deposition) at 326:6–8; Pl.’s Ex. 9 (McCready
          Deposition) at 160:17–23; Pl.’s Ex. 1 (Trainum Report) at 35.] Mr. Cecere was the last
          witness to see Steuerman at the Tankleffs’ home. [Pl.’s Ex. 1 (Trainum Report) at 35.]

   136.   Mr. Montefusco’s and Mr. Cecere’s testimony indicating that Steuerman was the last to
          leave the card game, shortly after 3:00 a.m., was in direct contrast to Steuerman’s own
          account that he had left between 2:30 and 3:00 a.m., with all of the remaining card
          players. [Defs.’ Ex. W (Rein Supp. Report) at 1.] Sergeant Doyle knew at the time that
          Steuerman’s account was inconsistent with Mr. Montefusco’s and Mr. Cecere’s, but did
          not do anything to follow up on the inconsistency. [Defs.’ Ex. YY (Doyle Deposition) at
          326:3–327:22.]

   A week after the murders, Steuerman fakes his own death and flees to California.

   137.   A week after the murders, Seymour was still alive and in a coma at the hospital. [Pl.’s Ex.
          9 (McCready Deposition) at 414:11–415:16.] Steuerman was aware of this fact, as well
          as the fact that Marty had publicly accused him of being responsible for the murders.
          [Defs.’ Ex. YY (Doyle Deposition) at 106:20–107:13; Defs.’ Ex. B (TT) (Closing) at
          4861:8–23.]

   138.   On September 14, Steuerman faked his own death by leaving his car running in a parking
          lot with the doors open and one of his shoes in the car. He altered his appearance by
          shaving his beard, cutting his hair short, and removing his usual jewelry. He then took a
          bus from Long Island to Atlantic City and then another bus from Atlantic City to Newark,
          before flying to California under the assumed name Jay Winston. [Pl.’s Ex. 1 (Trainum
          Report) at 36; Pl.’s Ex. 24 (Steuerman Missing Person Report) at 3, 9, 22; Pl.’s Ex. 8

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          (McElhone 2014 Deposition) at 154:17–155:9, 160:13–161:2; Pl.’s Ex. 9 (McCready
          Deposition) at 214:11–22; Defs.’ Ex. YY (Doyle Deposition) at 75:2–76:3; Defs.’ Ex. III
          (Jablonski Deposition) at 128:16–19; Defs.’ Ex. B (TT) (Jerry Steuerman) at 905:14–
          906:19; Defs.’ Ex. B (TT) (Closing) 4860:18–4861:7.] Generally, Steuerman “made
          efforts to make it appear as if he had been abducted or even killed.” [Defs.’ Ex. III
          (Jablonski Deposition) at 125:2–14.] Before he left, Steuerman also withdrew $15,000
          out of a joint bank account that he shared with Seymour. [Defs.’ Ex. B (TT) (Closing) at
          4862:16–21; Defs.’ Ex. YY (Doyle Deposition) at 171:20–172:8.]

   139.   The next day, September 15, Steuerman was reported missing by his daughter Bari. [Pl.’s
          Ex. 1 (Trainum Report) at 36; Pl.’s Ex. 24 (Steuerman Missing Person Report) at 2–3.]
          SCPD Homicide Squad detectives were summoned to Steuerman’s attorney’s office
          where, according to Lieutenant McElhone, “there was a note to be opened in the event
          that something happened to him” which directed how his assets should be distributed.
          [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 155:3–9.] Ultimately, given the obvious
          relationship to the Tankleff murders, it was the SCPD Homicide Squad that conducted
          the missing person investigation of Steuerman’s disappearance. [Pl.’s Ex. 24 (Steuerman
          Missing Person Report) at 3–4.] Lieutenant McElhone testified that he could think of no
          other missing person investigation that had been taken over by the Homicide Squad.
          [Pl.’s Ex. 1 (Trainum Report) at 36; Pl.’s Ex. 2 (McElhone 2011 Deposition) at 228:24–
          230:25.]

   Additional evidence emerges in the wake of the murders pointing to Steuerman as a likely
   suspect.

   140.   SCPD Homicide Squad detectives also learned early on in the Tankleff murder
          investigation that Steuerman owed Seymour a “substantial amount of money.” [Pl.’s Ex.
          8 (McElhone 2014 Deposition) at 161:20–24.] Detective McCready testified that he knew
          there was a “business dispute” between the two men, and that Steuerman owed Seymour
          “several thousand dollars.” [Pl.’s Ex. 9 (McCready Deposition) at 162:3–14.]
          Furthermore, Steuerman testified that, with Seymour alive, he was unable to start new
          business ventures without Seymour’s approval and without giving Seymour a portion of
          the profits. This was no longer true one Seymour was dead. [Defs.’ Ex. B (TT) (Jerry
          Steuerman) at 1081:15–25.] Steuerman later described his resentment of this situation by
          saying that, not only did Seymour own half the business they shared, but “Tankleff
          thought he owned half of me.” [Pl.’s Ex. 9 (McCready Deposition) at 165:6–14.]
          Sergeant Doyle also knew that Steuerman owed Seymour money and that the two men
          had been arguing. [Defs.’ Ex. YY (Doyle Deposition) at 93:6–94:17, 174:2–22.]
          However, despite the fact that SCPD Homicide Squad detectives were aware of the
          allegations that Steuerman owed Seymour a significant amount of money, a forensic
          audit of Seymour’s business and personal finances was never conducted. [Pl.’s Ex. 1
          (Trainum Report) at 35.]

   141.   SCPD Homicide Squad detectives also knew early on that Steuerman’s daughter Bari was
          his only alibi for the time of the murders. [Pl.’s Ex. 1 (Trainum Report) at 36; Defs.’ Ex.
          W (Rein Supp. Report) at 1–2; Defs.’ Ex. V (Anderson Report) at 1.] Steuerman told

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          detectives that he had forgotten his keys, so that when he arrived home shortly after
          leaving the card game, his daughter had gotten up to let him in. [Defs.’ Ex. W (Rein
          Supp. Report) at 1–2; Defs.’ Ex. V (Anderson Report) at 1–2.] Lieutenant McElhone
          recognized that an alibi from a family member is suspect; he testified that, in his
          experience as a homicide detective, when suspects used family members as alibis, he
          expected them to make sure to have their stories straight by “coordinat[ing] their false
          alibi with a family member.” [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 202:12–21,
          204:5–15.]

   142.   On September 22, Homicide Squad detectives received an anonymous tip that Steuerman
          was financing his son Todd, who was involved in major cocaine dealings. [Pl.’s Ex. 1
          (Trainum Report) at 36; Pl.’s Ex. 24 (Steuerman Missing Person Report) at 4.] Lieutenant
          McElhone testified that he had been aware that Steuerman had a son with a criminal
          record, and that the SCPD had received a tip that Todd was dealing cocaine out of
          Steuerman’s bagel store. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 162:16–163:18.]
          Lieutenant McElhone also admitted that, “obviously,” the tip regarding Todd’s cocaine
          dealing would have had to be looked at in connection with ruling Steuerman out as a
          suspect. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 176:10–21.] Detective McCready
          had heard that Todd was selling cocaine from the bagel store, and knew that he was
          eventually arrested and prosecuted. [Pl.’s Ex. 9 (McCready Deposition) at 200:16–22.]
          Detective Rein and Sergeant Doyle had also heard that Todd was involved in cocaine
          dealing, and Sergeant Doyle admitted that it was always a possibility that violence would
          be associated with cocaine dealing. [Defs.’ Ex. XX (Rein Deposition) at 229:2–9; Defs.’
          Ex. YY (Doyle Deposition) at 162:13–166:2.] Furthermore, Detective Rein also admitted
          that he interviewed one of Steuerman’s sons, or possibly both. [Defs.’ Ex. XX (Rein
          Deposition) at 228:23–25.]

   SCPD Homicide Squad detectives decide Steuerman is not a suspect and fail to conduct more
   than a cursory investigation into him.

   143.   “[G]iven the lack of evidence corroborating the Tankleff confession, a reasonable and
          experienced investigator would have paid particular attention to any evidence of an
          obvious, alternate suspect” such as Steuerman. [Pl.’s Ex. 1 (Trainum Report) at 35.]
          Indeed, failing to adequately investigate such a suspect would be “a serious deviation
          from minimally accepted police practices.” [Pl.’s Ex. 1 (Trainum Report) at 35.]
          Lieutenant McElhone agreed that the SCPD Homicide Squad had an “obligation to
          actually take affirmative steps to investigate Steuerman.” [Pl.’s Ex. 8 (McElhone 2014
          Deposition) at 172:4–14.]

   144.   But the SCPD Homicide Squad detectives never did so. Sergeant Doyle testified that the
          SCPD Homicide Squad never considered Steuerman to be a suspect. [Defs.’ Ex. YY
          (Doyle Deposition) at 84:5–8, 111:15–112:12; see also Pl.’s Ex. 1 (Trainum Report) at
          37.] Likely by the end of the day on September 7, and in any event before September 10,
          Sergeant Doyle was confident that Marty was the murderer and that Steuerman had not
          been involved, never changing his mind. [Defs.’ Ex. YY (Doyle Deposition) at 122:6–
          124:15, 126:4–127:16, 166:24–168:11.] Even after learning of Steuerman’s

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          disappearance to California and Todd’s involvement with cocaine dealing, Sergeant
          Doyle never personally believed that Steuerman should be considered a suspect. [Defs.’
          Ex. YY (Doyle Deposition) at 84:5–8, 85:19–86:12, 90:25–91:8, 166:24–168:11.]

   145.   Detective McCready also testified that “Jerry Steuerman wasn’t a suspect.” [Pl.’s Ex. 9
          (McCready Deposition) at 175:16–16; see also Pl.’s Ex. 1 (Trainum Report) at 37.] More
          specifically, Detective McCready testified that, “there is no way Jerry Steuerman did this
          murder or was connected to this murder or hired anybody to do this murder.” [Pl.’s Ex. 9
          (McCready Deposition) at 215:14–216:23.] Initially, Detective McCready was suspicious
          of Marty, not Steuerman, and by the end of the day on September 7, Detective McCready
          was sure it was Marty. [Pl.’s Ex. 9 (McCready Deposition) at 175:23–25, 218:19–219:3.]
          Steuerman’s disappearance to California did not change Detective McCready’s mind.
          [Pl.’s Ex. 9 (McCready Deposition) at 416:3–7.]

   146.   Consistent with their failure to ever consider Steuerman a suspect, the SCPD Homicide
          Squad’s “investigation” into him was cursory at best. First, on September 7, two SCPD
          Homicide Squad detectives under Sergeant Doyle’s supervision, Detective Anderson and
          Detective Laghezza, interviewed five of the card players from the night of September 6,
          including Steuerman at his bagel store. [Pl.’s Ex. 1 (Trainum Report) at 36; Defs.’ Ex. B
          (TT) (Closing) at 4859:11–15; Defs.’ Ex. YY (Doyle Deposition) at 114:5–9.] The
          interview with Steuerman lasted no more than an hour. [Pl.’s Ex. 29 (Anderson
          Deposition) at 55:24–56:2.] Detective Anderson’s report was not solely about Steuerman,
          and only included a page-and-a-half of discussion of the detectives’ interview with
          Steuerman. [Defs.’ Ex. V (Anderson Report) at 4–5; Defs.’ Ex. YY (Doyle Deposition) at
          113:20–116:4.]

   147.   In addition, on September 10, Steuerman was interviewed for approximately half an hour
          at his bagel store by Detective McCready and Detective Rein, and another page-and-a-
          half-long report was prepared by Detective Rein. [Defs.’ Ex. W (Rein Supp. Report) at 1–
          2; Defs.’ Ex. YY (Doyle Deposition) at 116:11–117:11; Pl.’ Ex. 9 (McCready
          Deposition) at 175:12–175:14.] Sergeant Doyle testified that Detective McCready and
          Detective Rein did not believe that Steuerman was a suspect at the time of their
          interview. [Defs.’ Ex. YY (Doyle Deposition) at 86:3–9.]

   148.   Based solely on these two brief interviews in public places, SCPD Homicide Squad
          detectives under Sergeant Doyle’s supervision ruled out Steuerman as a suspect in the
          Tankleff murders. Sergeant Doyle testified that, other than the collective three pages of
          typed reports on Steuerman, there was no other investigation he was aware of into
          whether Steuerman should be a suspect. [Defs.’ Ex. YY (Doyle Deposition) at 117:12–
          118:2.] Instead, because Marty had confessed and had survived the attacks, among other
          reasons which he knew before Steuerman was even interviewed, in Sergeant Doyle’s
          opinion, he was confident that the SCPD Homicide Squad already “had the right person,”
          namely, Marty. [Defs.’ Ex. YY (Doyle Deposition) at 118:3–122:9.]

   149.   SCPD Homicide Squad detectives under Sergeant Doyle’s supervision never
          reconsidered that decision to rule Steuerman out as a suspect or conducted additional

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          investigation into him as a suspect, even as evidence mounted pointing away from Marty
          and towards Steuerman’s involvement. In particular, the detectives failed to interview all
          of Seymour’s business associates and family members, conduct a forensic audit of
          Steuerman’s business and/or personal finances, investigate Steuerman’s business dealings
          or his business associates, or investigate Steuerman’s connections to his son Todd’s
          cocaine dealing or to his son’s or his own criminal associates. [Pl.’s Ex. 1 (Trainum
          Report) at 35–37; Defs.’ Ex. YY (Doyle Deposition) at 117:12–118:2.] This was a
          serious deviation from minimally accepted police practices. [Pl.’s Ex. 1 (Trainum Report)
          at 35–36.]

   Despite never considering Steuerman a suspect and never seriously investigating him,
   detectives falsely report to supervisors and prosecutors that they have conducted a thorough
   investigation and ruled him out.

   150.   Despite only conducting two cursory interviews of Steuerman, SCPD Homicide Squad
          detectives under Sergeant Doyle’s supervision falsely represented that they had
          thoroughly investigated Steuerman and eliminated him as a suspect. For example, the
          missing person report prepared after Steuerman’s disappearance contained an entry from
          September 16 which stated that: “Steuerman has been thoroughly questioned and
          Homicide does not believe he was involved.” [Pl.’s Ex. 24 (Steuerman Missing Person
          Report) at 3; Defs.’ Ex. YY (Doyle Deposition) at 89:3–4.] Sergeant Doyle admitted that
          the terminology “thoroughly questioned” in that report referred to solely the September 7
          interview of Steuerman by Detective Anderson and Detective Laghezza and the
          September 10 interview of Steuerman by Detective McCready and Detective Rein.
          [Defs.’ Ex. YY (Doyle Deposition) at 89:5–10.] However, Sergeant Doyle also admitted
          that he would not have described these two cursory interviews as constituting “thorough”
          questioning. [Defs.’ Ex. YY (Doyle Deposition) at 89:20–90:16.]

   151.   Lieutenant McElhone was also misled about the investigation into Steuerman. [Pl.’s Ex. 1
          (Trainum Report) at 16.] Lieutenant McElhone testified that the SCPD Homicide Squad
          detectives under his supervision had reported to him that they “did look at Steuerman and
          rule[d] him out as a suspect.” [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 165:21–25.]
          Specifically, Lieutenant McElhone’s understanding was that detectives had “thoroughly
          investigated” Steuerman as a suspect and determined that he was not involved in the
          murders. [Pl.’s Ex. 8 (McElhone 2014 Deposition) at 167:7–21, 182:23–183:9.]
          Lieutenant McElhone had been brought in to head the SCPD Homicide Squad in order to
          clean house after the earlier SCPD scandals regarding coerced and fabricated confessions,
          including by reducing reliance on confessions to the exclusion of other evidence. [Pl.’s
          Ex. 2 (McElhone 2011 Deposition) at 109:4–110:25.]

   152.   After learning that Steuerman had fled to California, on September 26, Detective
          McCready, Sergeant Doyle, and ADA Jablonski flew to California to look for Steuerman.
          [Pl.’s Ex. 24 (Steuerman Missing Person Report) at 4, 25.] Before this trip, ADA
          Jablonski knew that Steuerman had been spoken to by SCPD Homicide Squad
          detectives—either from reading reports of interviews or from talking to detectives
          directly—and that they did not consider Steuerman a suspect. [Defs.’ Ex. III (Jablonski

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          Deposition) at 24:7–18.] In addition, Detective McCready and/or Detective Rein had
          reported to prosecutors what they alleged had occurred during Marty’s confession,
          including their claim that Marty had supplied the details of the confession. [Defs.’ Ex. III
          (Jablonski Deposition) at 25:22–24, 26:23–27:6, 45:16–46:2.] Based on all of this false
          information, ADA Jablonski did not question the reasonableness of the conclusion of the
          SCPD Homicide Squad detectives’ conclusion that Steuerman was not involved in the
          murders. [Defs.’ Ex. III (Jablonski Deposition) at 156:10–22.]

   153.   ADA Jablonski testified that he “absolutely” did not consider Steuerman to be a suspect,
          that at the time he went to California, he was “very confident in Mr. Tankleff’s guilt …
          so confident that Mr. Steuerman was in no way, shape or form a suspect,” and that he was
          confident Marty had acted alone. [Defs.’ Ex. III (Jablonski Deposition) at 23:15–24:6,
          45:3–14, 126:13–18.]

   154.   The purpose of the trip to California was not to investigate Steuerman. Rather, ADA
          Jablonski testified that he “wanted [Steuerman] to know that we wanted him to come
          back with [them], [and] that he was not under arrest,” because they “had no legal reason
          to bring him back or anything like that, so he could talk to [them].” [Defs.’ Ex. III
          (Jablonski Deposition) at 22:7–19, 148:2–7.] ADA Jablonski also testified that, when he
          was in California, he might have told Steuerman that he was not a suspect so that
          Steuerman would come back with them. [Defs.’ Ex. III (Jablonski Deposition) at 157:23–
          158:6.] ADA Jablonski wanted Steuerman to come back to Suffolk County because his
          name was being brought up by defense counsel and wanted to “talk to him about what the
          other side was saying and have him available for trial” and to “have an explanation as to
          why he left under the circumstances that he left, and in the manner that he left, so that
          that could be prepared for a trial.” [Defs.’ Ex. III (Jablonski Deposition) at 23:2–14.]

   155.   On September 28, they located Steuerman at a Holiday Inn in Long Beach. [Pl.’s Ex. 1
          (Trainum Report) at 37; Pl.’s Ex. 24 (Steuerman Missing Person Report) at 27.] Although
          ADA Jablonski was involved in the first conversation with Steuerman in California,
          which he described as lasting approximately 30–60 minutes and involving a “lot of
          crying and moaning and that’s about it,” after that it was Detective McCready and
          Sergeant Doyle who talked to Steuerman at greater length “about coming back and that
          kind of stuff.” [Defs.’ Ex. III (Jablonski Deposition) at 145:23–146:6, 150:21–151:3,
          151:13–14, 155:6–10.] ADA Jablonski testified that he had relied on Detective
          McCready and Sergeant Doyle to “report to [him] anything that was of significance” to
          the Tankleff murders. [Defs.’ Ex. III (Jablonski Deposition) at 155:18–22.] On
          September 30, the investigators, voluntarily accompanied by Steuerman, returned to
          Suffolk County. [Pl.’s Ex. 24 (Steuerman Missing Person Report) at 27.]

   156.   ADA Collins took over the case after Steuerman had faked his death, fled, and returned
          to the jurisdiction. [Defs.’ Ex. HHH (Collins Deposition) at 109:17–25.] He testified that
          he did an analysis of Steuerman’s footprint in connection with the investigation, but did
          not recall any other specific steps that he took to investigate Steuerman because he knew
          that ADA Jablonski and SCPD Homicide Squad detectives had taken investigative steps
          previously. [Defs.’ Ex. HHH (Collins Deposition) at 112:4–12.] As a result, ADA Collins

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          testified that he “tried [his] suspect,” namely Marty, because it was his understanding that
          the “proof did not point to [Steuerman].” [Defs.’ Ex. HHH (Collins Deposition) at 117:2–
          112, 120:9–18.]

   After Marty’s conviction, even more evidence implicating Steuerman comes to light.

   157.   In the late 1990s, a private investigator hired by Marty uncovered evidence that
          Steuerman was connected to a number of his son Todd’s criminal associates. The private
          investigation revealed that one of those associates was a man named Joseph Creedon.
          [Pl.’s Ex. 1 (Trainum Report) at 37.]

   158.   In 2003, Marty filed a petition for rehearing of his case based on newly discovered
          evidence. This new evidence included a sworn affidavit from a woman named Karlene
          Kovacs, found among files from the 1990s investigation, in which she had stated that
          Creedon had confessed to her and her friends that he was involved in the Tankleff
          murders, that he “was with someone named ‘Steuerman,’” and that after the murders they
          had had to quickly leave to avoid being caught. Marty also provided an affidavit from a
          man named Glenn Harris, who described in detail that he had driven Creedon and a man
          named Peter Kent to the Tankleff house, and that Creedon and Kent had gone into the
          Tankleff house and then come running back to the car 10 to 30 minutes later “nervous
          and . . . winded.” Harris also stated in the affidavit that he had later seen Kent burning his
          clothes and knew something more serious had occurred, but was on parole and thus too
          scared to talk to the police. [Defs.’ Ex. QQ (Appellate Decision) at 165.]

   159.   In 2004, a CPL 440.10 hearing occurred, at which evidence implicating Steuerman
          continued to surface:

             a) Creedon testified that he had collected drug money for Steuerman’s son Todd,
                and that in April 1989, Todd had suggested that Creedon speak to his father about
                “cutting out” Marty’s tongue. [Defs.’ Ex. QQ (Appellate Decision) at 167–68.]
                This conversation was bolstered by testimony from retired SCPD Detective
                Thomas McDermott, who interviewed Creedon on January 4, 1995. In that
                interview, Creedon stated that Todd wanted Marty’s tongue cut out, and that
                “Jerry Steuerman would pay a lot of money if Creedon did so.” [Defs.’ Ex. QQ
                (Appellate Decision) at 174.]. There was also evidence that Todd had offered
                Creedon $10,000 to commit a murder for hire. [Defs.’ Ex. QQ (Appellate
                Decision) at 168.]

             b) Kovacs’ boyfriend John Guarascio testified that, at an Easter dinner, Creedon had
                told him that he had been at the Tankleffs’ home with Steuerman, that his
                adrenaline had been flowing, that they had been forced to get rid of their clothes,
                and that he needed to leave town. [Defs.’ Ex. QQ (Appellate Decision) at 168–
                69.] Guarascio further testified that Creedon said he had been watching a card
                game and getting “pumped up” that night. [Defs.’ Ex. QQ (Appellate Decision) at
                169.]



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            c) Creedon’s son, Joseph Guarascio, testified that Creedon admitted he had choked
               Seymour and hit him on the head while Kent stabbed Arlene, all at the prompting
               of Steuerman and Todd, who had signaled Creedon when to enter the house.
               [Defs.’ Ex. QQ (Appellate Decision) at 169–70.]

            d) A man named Gaetano Foti testified that Creedon had admitted to murdering the
               Tankleffs, and that an SCPD Detective named Robert Trotta testified that Foti had
               contacted him with this information on October 14, 2003, after Foti heard about
               the Tankleff case. [Defs.’ Ex. QQ (Appellate Decision) at 170, 174–75.]

            e) Another associate of Creedon’s, Joseph Graydon, testified that in July or August
               of 1988, Creedon was offered $25,000 by a partner in Strathmore Bagels to kill
               the other partner to whom he owed money. The murder was supposed to take
               place at the bagel store and look like a robbery, but when Creedon and Graydon
               went on the appointed day, the store was closed. A man named William Ram
               testified that the night before the Tankleff murders, Creedon offered to pay Ram
               to “rough up” the partner in a bagel business of someone who had hired Creedon.
               [Defs.’ Ex. QQ (Appellate Decision) at 170.] This partner lived “in an upscale
               neighborhood, Belle Terre, and was a ‘Jew in the bagel business.’” [Defs.’ Ex.
               QQ (Appellate Decision) at 170–71.] The next day, Harris told Ram that “they”
               had done something bad, when “they” came running out of the house there was
               blood on them, and that they drove away and then had to burn their clothes.
               [Defs.’ Ex. QQ (Appellate Decision) at 171.]

            f) Bruce Demps, an associate of Todd’s, testified that Steuerman had “put a hit on”
               the Tankleffs because he owed them money. Todd also said that his father had
               sent someone to murder the Tankleffs. [Defs.’ Ex. QQ (Appellate Decision) at
               171.]

            g) A cabinet maker, Neil Fischer, testified that he had overheard Steuerman in the
               spring of 1989 saying that he had killed two people, who Fischer assumed to be
               the Tankleffs. [Defs.’ Ex. QQ (Appellate Decision) at 171.]

            h) The chaplain at Sing Sing, Father Lemmert, testified that Harris had told him that
               he’d driven to the Tankleff house and waited in the car while Creedon and Kent
               went into the house, and they returned upset and with blood on them. Harris did
               not testify himself at the hearing because “other inmates threatened his children.”
               [Defs.’ Ex. QQ (Appellate Decision) at 172.]

            i) Leonard Lubrano, a wholesale baker that did business with Steuerman, testified
               that Detective McCready had said that he was “doing a project for Strathmore
               Bagels” in the mid-1980s and that he had seen Detective McCready in the bagel
               shop prior to 1988. [Defs.’ Ex. QQ (Appellate Decision) at 172–73.]

            j) Creedon was not a suspect during Marty’s trial because, as his defense lawyer
               testified, he “did not have any information that Creedon had admitted to others

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                 that he had murdered the Tankleffs, or that Harris drove Creedon to the Tankleff
                 residence.” [Defs.’ Ex. QQ (Appellate Decision) at 173.]

             k) Paul Lerner, a social acquaintance of the Tankleffs, testified that in the spring or
                summer of 1988, Seymour had told him that Steuerman owed him a lot of money
                and was not making payments on the debt. A few weeks later, Seymour told
                Lerner that he was going to call in Steuerman’s debt, likely putting him out of
                business. [Defs.’ Ex. QQ (Appellate Decision) at 173.]

             l) Ron Falbee, the executor of the Tankleff estate and Marty’s maternal cousin,
                testified that Arlene was frightened of Steuerman and that Seymour had told him
                that his partnership with Steuerman was ending. [Defs.’ Ex. QQ (Appellate
                Decision) at 173.] Falbee also testified that he found an unsigned letter in
                Seymour’s desk dated June 29, 1988, demanding $50,000 from Steuerman based
                on a 1986 debt owed to the Tankleffs. [Defs.’ Ex. QQ (Appellate Decision) at
                174.]

   160.   Even decades after Marty’s conviction, evidence continued to emerge that pointed toward
          Steuerman’s involvement in the Tankleff murders. At his deposition, Steuerman refused
          to answer questions, invoking his Fifth Amendment right repeatedly, including in
          response to questions such as “Did you play any role in the murder of either Seymour or
          Arlene Tankleff?” and “Did you pay anyone any money in connection with the attack on
          Seymour and Arlene Tankleff?” [See, e.g., Pl.’s Ex. 30 (Jerry Steuerman Deposition) at
          11:23–12:2, 13:15–13:19.] After Steuerman retained a lawyer for his son, Todd, Todd
          also invoked his Fifth Amendment right throughout his deposition. [See generally Pl.’s
          Ex. 31 (Todd Steuerman Deposition).]

   Dated: New York, New York
          August 24, 2015

                                                       Respectfully submitted,


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                                       Certificate of Service

           I hereby certify that a true and accurate copy of the foregoing Plaintiff’s
   Counterstatement of Material Facts Pursuant to Local Rule 56.1 was served via mail with
   exhibits and email without exhibits on August 24, 2015, upon the following parties:

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